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                                 UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF NEW YORK

                                       CASE NO.: 22-cv-8858 (JPO)

    ALEJANDRO CANTO, on behalf of himself
    and all others similarly situated,

           Plaintiff,

    vs.

    BKCOIN MANAGEMENT, LLC,
    CARLOS BETANCOURT, and KEVIN KANG,

          Defendants.
    _____________________________________/

                           FIRST AMENDED CLASS ACTION COMPLAINT

           Plaintiff, Alejandro Canto, by and through his counsel of record, files this class action

    complaint on behalf of himself and all others similarly situated against Defendants, BKCoin

    Management, LLC (“BKCoin”),1 Carlos Betancourt (“Betancourt”), and Kevin Kang (“Kang”)

    (collectively, “Defendants”), and in support thereof states as follows:

                                         I.      INTRODUCTION

           1.           Defendants violated the most exacting loyalties and strictest of confidences to

    hide massive losses in Plaintiff Alejandro Canto’s investment portfolio while illegally raiding his

    portfolio of millions of dollars. Upon information and belief, Defendants Betancourt and Kang

    have similarly mismanaged and otherwise defrauded numerous others who invested in funds they

    controlled.




    1
            As noted below, in light of a stay associated with a receivership action involving BKCoin,
    Plaintiff does not seek any relief as to BKCoin individually or on a class basis at the present time.
    See also ECF No. 24.
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           2.       Canto is a young entrepreneur who earned millions of dollars in emerging

    industries, such as cannabis and, as relevant here, cryptocurrency. Canto retained BKCoin—a

    cryptocurrency fund ran by Betancourt and Kang—to manage his cryptocurrency investment

    portfolio. Betancourt and Kang acted as investment managers and/or advisers to Canto, directly

    managing and advising as to Canto’s financial affairs with BKCoin. BKCoin and its principals

    heralded themselves as prodigies as Canto’s portfolio grew from a few hundred thousand dollars

    to more than $11 million.

           3.       But when the crypto markets began to see downturns, BKCoin ceased regularly

    updating Canto about his investment portfolio. Then, BKCoin, at the direction of its principals,

    began raiding Canto’s multi-million dollar portfolio, purportedly for margin calls related to certain

    loans Canto executed with BKCoin. But Canto never authorized such margin calls, and neither

    BKCoin nor its principals had the authority to do so under the relevant loan agreements.

           4.       Instead of prioritizing Canto’s and their other investors’ financial interests above

    their own, BKCoin violated its fiduciary duties of loyalty, and Kang and Betancourt violated their

    fiduciary duties and obligations as investment advisors, by unilaterally seizing cryptocurrency

    from Canto’s investment portfolio and misrepresenting their authority to do so, all to satisfy their

    own agenda. Defendants have disregarded the gravity of Canto’s suffered injuries as a result of

    their tortious acts. Canto has suffered millions of dollars in damages for which he seeks to be fully

    compensated.

           5.       Upon information and belief, Defendants Betancourt and Kang, in their role as

    Canto’s investment managers, made numerous fraudulent misrepresentations and omissions to

    Canto regarding the status of his investments, including by preparing and providing Canto with

    investment statements that misrepresented the amount, location, and status of his investments. The



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    statements prepared by Betancourt and Kang indicated that Canto’s investments were secure and

    being held and managed on his behalf. Instead, Defendants Betancourt and Kang were raiding

    Canto’s investment accounts to pay themselves, to pay for BKCoin’s operating expenses, and to

    pay other investors that were withdrawing funds from BKCoin.

           6.       Betancourt and Kang also failed to inform Canto of their self-dealing and

    mismanagement of his investments. Had they informed him of their conduct and the true status of

    his investments, Canto would have withdrawn his investments prior to suffering losses.

           7.       As to the class a whole, Defendants, whether individually, in concert, or

    otherwise, breached their duties and obligations by comingling and then dissipating assets of

    numerous investors (like Canto), misrepresenting the nature of their investment holdings, and

    failing to properly disclose material facts or account for investors’ holdings, among other things.

                                            II.     PARTIES

           8.       Plaintiff Alejandro Canto is domiciled in, and thus a citizen of, Florida.

           9.       Defendant BKCoin Management, LLC, is a Delaware limited liability company.

    BKCoin has two members: Defendants Carlos Betancourt and Kevin Kang.

           10.      BKCoin is an affiliate of BKCoin Capital LP (“BKCoin Capital”) and along with

    other funds—including, BKCoin Multi-Strategy Fund, LTD; BKCoin Multi-Strategy Master

    Fund, LTD; and BKCoin Multi-Strategy Fund LP, (collectively the “Multi-Strat Funds”) —

    operate under the umbrella of BKCoin Capital.

           11.      Defendant Carlos Betancourt is domiciled in, and thus a citizen of, California and

    is a founding principal and co-manager for BKCoin. Betancourt had registered individually with

    the SEC as an investment advisor and thus, under the Investment Advisors Act, was required to

    act in a fiduciary capacity regarding Canto’s investments.



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            12.       Defendant Kevin Kang is domiciled in, and thus a citizen of, New York and is a

    founding principal and co-manager for BKCoin. Kang had registered individually with the SEC as

    an investment advisor and thus, under the Investment Advisors Act, was required to act in a

    fiduciary capacity regarding Canto’s investments.

                                  III.   JURISDICTION AND VENUE

            13.      This Court has original jurisdiction over this class action pursuant to the Class

    Action Fairness Act and 28 U.S.C. § 1332(d) because members of the proposed Class are citizens

    of states different from Defendants home states, New York and California. The total amount in

    controversy in this action exceeds $5,000,000 exclusive of interest and costs. The Court has

    pendent or supplemental jurisdiction over any other claims.

            14.       This Court has personal jurisdiction over Defendants Betancourt and Kang

    because, among other things detailed below, their tortious activities occurred within this District.

            15.       BKCoin conducts business operations in New York. BKCoin also failed to act in

    accordance with its fiduciary duties in this District and performed the margin calls at issue in this

    District. Further, BKCoin consented to the jurisdiction of this Court under the Investment

    Management Agreements. See Investment Management Agreements ¶ 16, attached as Composite

    Exhibit A.

            16.       Defendant Betancourt regularly conducts business in New York, and his actions

    or inactions that resulted in harm to Canto and the putative class occurred in this District.

            17.       Defendant Kang is domiciled in New York, regularly conducts business in New

    York, and his actions or inactions that resulted in harm to Canto and the putative class occurred in

    this District.




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            18.      Venue is proper in the Southern District of New York because BKCoin agreed to

    litigate matters in this District pursuant to the Investment Management Agreements. See Ex. A. at

    ¶ 16. Betancourt and Kang are likewise bound by the Investment Management Agreements’ forum

    selection clauses as non-signatories because their conduct is closely related to the contractual

    relationship between BKCoin and Canto. Venue is also proper pursuant to 28 U.S.C. § 1391

    because a substantial part of the events or omissions giving rise to the claims set forth herein

    occurred in this District.

                                    IV.   FACTUAL ALLEGATIONS

            19.      BKCoin Capital, is a New York-based multi-million-dollar digital asset hedge

    fund, managing, at one time, more than $100 million dollars in assets. Defendant BKCoin is an

    affiliate of BKCoin Capital, which manages and trades digital assets, including cryptocurrency, to

    deliver returns to investors.

    A. Plaintiff Canto’s Individual Factual Allegations

            20.      Canto has earned millions of dollars as an entrepreneur in emerging industries.

    One of those industries was the cryptocurrency industry.

            The Parties Execute Investment Management Agreements for Canto’s Cryptocurrency

            21.      In 2019, after previous investments in cryptocurrency, Canto engaged with

    BKCoin to manage his investment portfolio. Canto entrusted his confidence in BKCoin and relied

    on it to manage his investments.

            22.      As part of the engagement, Canto executed two Investment Management

    Agreements with BKCoin, dated March 16, 2020, and December 7, 2020. The Investment

    Management Agreements were virtually identical to each other. See Ex. A.




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            23.     Under the Investment Management Agreements, BKCoin agreed to manage

    Canto’s cryptocurrency assets. See Ex. A. at ¶ 1.

            24.     Thus, a fiduciary relationship arose from the trust and confidence between Canto

    and BKCoin, where BKCoin owed several fiduciary duties to Canto including the fiduciary duty

    to exercise due skill, care, and diligence in handling Canto’s investment portfolio.

            25.     BKCoin had a fiduciary duty to timely communicate with Canto about his

    investment portfolio and advise him of its status. BKCoin also had a fiduciary duty to provide, at

    a minimum, quarterly statements to Canto regarding the performance status of his investment

    portfolio and to carefully supervise Canto’s portfolio under his express authorization. See Ex. A.

    at ¶¶ 2, 10.

            26.     Under the Investment Management Agreements, BKCoin owed a duty of loyalty

    and good faith to Canto, which required that it put his financial interests above its own.

            27.     The Investment Management Agreements specified that BKCoin would manage

    the following cryptocurrencies for Canto: Bitcoin, Ethereum, XRP (Ripple), and BitTorrent (BTT).

    See Ex. A at Exhibit A (Statement of Client Account Restrictions). BKCoin would later acquire

    and manage for Canto an additional cryptocurrency called HBAR (Hedera), which was not subject

    to the Investment Management Agreements.

            Betancourt’s & Kang’s Roles with BKCoin

            28.    BKCoin is a relatively small company, composed of possibly as few as five, full-

    time employees. Virtually all of BKCoin’s employees are located or work in New York.

            29.    BKCoin’s members and principals—e.g., Betancourt and Kang—were involved in

    its day-to-day activities and made the principal decisions regarding operating the company,




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    managing Canto’s investment portfolio, and providing him notice of the status of his holdings with

    the company.

             30.   Betancourt was the primary relationship manager for Canto’s investment portfolio,

    serving, among other things, as the primary broker, adviser, and contact for Canto’s account.

             31.   Kang was responsible for monitoring and managing Canto’s investment portfolio

    and providing updates to Canto regarding his holdings and financial affairs at BKCoin.

             32.   Both Kang and Betancourt had registered with the SEC as investment advisors and,

    among other things, were obligated to act in the best interests of their clients, like Canto, and

    prohibited from engaging in activities in conflict with their clients’ interests.

             The Parties Execute Loan Agreements Related to the Acquisition of Cryptocurrency

             33.   In addition to the Investment Management Agreements, Canto executed multiple

    loan agreements with BKCoin, three of which are relevant here, dated October 7, 2021,

    November 19, 2021, and March 9, 2022. See Composite Exhibit B.

             34.   BKCoin loaned Canto at least $4.05 million under the loan agreements. See Ex. B.

    Under the loan agreements, Canto’s investment portfolio with BKCoin served as collateral for the

    loans.

             35.   If BKCoin loaned Canto cryptocurrency instead of U.S. dollars, the loan

    agreements allowed BKCoin to request margin calls for additional collateral from Canto under

    certain circumstances. BKCoin’s loans to Canto, however, were provided in U.S. dollars, not

    cryptocurrency. Accordingly, BKCoin was not authorized to conduct any margin calls for

    additional collateral from Canto. See Ex. B at Exhibit B (Loan Term Sheet).




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           36.     Not only were margin calls thus inappropriate because BKCoin did not loan

    cryptocurrency to Canto, but the loan agreements did not authorize BKCoin to unilaterally seize

    additional collateral from Canto’s investment portfolio.

           Canto’s Crypto-Portfolio Achieves Massive Gains Before Breaches

           37.     After execution of the Investment Management Agreements and certain of the loan

    agreements, Canto’s portfolio initially earned substantial gains. Canto’s cryptocurrency portfolio

    with BKCoin—excluding his XRP (Ripple) and HBAR (Hedera) coins—eventually reached highs

    of at least $11.4 million.

           38.     But, shortly after Canto’s portfolio reached its highs, BKCoin committed several

    breaches of its fiduciary duties in the management of Canto’s multi-million-dollar investment

    portfolio, resulting in millions in losses to Canto.

           39.     For more than a year after the execution of the initial Investment Management

    Agreement, BKCoin, through Betancourt and Kang, provided statements to Canto virtually every

    month that detailed the status and performance of Canto’s investment portfolio.2

           40.     However, beginning in July 2021 when his portfolio began to see its first losses,

    Betancourt and Kang stopped providing Canto with monthly reports detailing the status of his

    investments.

           41.     On October 26, 2021, after the cryptocurrency market dramatically recovered from

    Summer 2021 lows, BKCoin provided Canto monthly statements that it had not previously issued

    Canto through that date.




    2
      As explained herein, the statements that were provided to Canto were fraudulent because Kang
    and Betancourt were commingling and misappropriating Canto’s investments. Because of these
    fraudulent statements, Canto is unaware of the current status of his investments.

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           42.     But the cryptocurrency market experienced another significant downturn the weeks

    following October 26, 2021, and BKCoin once again failed to provide Canto monthly (or any

    statements) thereafter until June 7, 2022, more than a half a year later. During that time, Canto’s

    investment portfolio suffered significant losses.

           43.     Defendants’ practices establish that it provided portfolio updates to Canto only

    when the market was favorable. For example, Defendants did not provide Canto statements in July,

    August, or September 2021 when the market was volatile. But Defendants provided Canto an

    update on October 26, 2021, while the market was favorable. Following that update, the market

    again turbulently fell, and Defendants failed to timely inform Canto about his portfolio.

           44.     Canto continually demanded updates regarding his investment portfolio—during

    this period and earlier—that were never provided, a further breach of fiduciary duty.

           45.     To date, Canto has yet to receive any portfolio statements reflecting the status of

    his investments in HBAR or XRP cryptocurrency.

           46.     When Canto finally received an update in June 2022, Betancourt and Kang

    informed him, over the phone, that his near $12 million-dollar portfolio was under water and that

    he owed BKCoin $1 million. Thereafter, Defendants have still failed to provide Canto updates

    regarding his investment portfolio, despite repeated requests to BKCoin, its principals, and

    BKCoin’s attorneys.

           47.     BKCoin’s failure to provide timely updates or otherwise communicate with Canto

    during its management of Canto’s portfolio is a breach of the fiduciary duty of care created by the

    Investment Management Agreements. Betancourt and Kang also had obligations as registered

    investment advisors to provide full and fair disclosures of all material facts regarding Canto’s

    investment account.



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          48.     Had Canto received timely updates from Defendants regarding his cryptocurrency

   investments, he would have sold his portfolio at near market highs before he lost nearly all of his

   investments.

          BKCoin Improperly Seizes Collateral From Canto’s Investment Portfolio

          49.     BKCoin also breached its fiduciary duty as investment manager when it conducted

   improper margin calls on Canto’s investment portfolio.

          50.     The loan agreements, the only contracted modification of the BKCoin’s fiduciary

   obligations, expressly outlined the rights of responsibilities between BKCoin and Canto.

          51.     The loan agreements expressly permitted margin calls on Canto’s investment

   portfolio only in the event that Canto borrowed cryptocurrency from BKCoin (and then, only under

   certain conditions). The loan agreements did not authorize margin calls when the loans were made

   in U.S. dollars as they were here. In no circumstances did the loan agreements authorize BKCoin

   to unilaterally seize collateral from Canto’s investment portfolio.

          52.     Purporting to act pursuant to the loan agreements, however, BKCoin, acting

   through Betancourt and Kang, unilaterally conducted margin calls on Canto’s investment portfolio.

   In other words, BKCoin, without notice to Canto, transferred or seized additional cryptocurrency

   collateral from Canto’s investment portfolio despite neither the loan agreements nor Canto

   providing BKCoin (or its principals) that authority.

          53.     BKCoin’s improper margin calls breached its fiduciary duties of loyalty, good faith,

   and care to Canto that it agreed to fulfill as his investment manager.

          54.     As a result of those breaches, BKCoin (and its principals) improperly raided

   Canto’s investment portfolio of millions of dollars based on the improper margin calls.




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          55.     As of close of market on October 14, 2022, Canto’s portfolio was purportedly worth

   only $2.9 million, excluding his holdings in HBAR and XRP. However, Canto is without

   knowledge of the actual holdings in his investment account because the account statements he did

   receive did not reflect the fact that his investments were being commingled with other investors

   funds and being misappropriated by Betancourt and Kang for improper purposes.

          56.     Canto is also without knowledge as to the current value of his HBAR and XRP

   coins because Defendants have failed to provide him with this information, despite their

   obligations as his investment manager.

          Defendants Betancourt and Kang Fraudulent Misrepresentations to Canto

          57.     Defendants Betancourt and Kang oversaw and managed Canto’s investments and

   were responsible for providing him account statements and other communications regarding the

   status of his investments.

          58.     As registered investment advisors, Betancourt and Kang were required use

   reasonable care to avoid misleading Canto, to avoid any conflicts of interest regarding his

   investments, and to disclose all material facts regarding Canto’s investments, among other things.

          59.     Canto was led to believe, by Betancourt and Kang through the account statements

   they prepared and approved (or otherwise), that his investments were being held and managed in

   his own personal investment account.

          60.     For example, Canto was provided an account statement on December 31, 2021,

   reflecting that his investment account contained Bitcoin and Ethereum worth approximately

   $4.6 million. Canto was sent a similar account statement on March 31, 2022, showing the value of

   his account remained at approximately $4.6 million.




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            61.   These account statements, and others provided to Canto, misrepresented the actual

   status and amounts of Canto’s investments. Rather than being held in a personal investment

   account, Canto’s investments were commingled with funds of other investors and Canto’s and

   other investors’ funds were raided by Betancourt and Kang for their own personal gain, to pay

   operating costs of BKCoin, and/or to pay out other investors who were withdrawing funds.

            62.   Upon information and belief, Betancourt and Kang created false account statements

   to hide their commingling and misappropriation of Canto’s holdings and prevent Canto from

   liquidating his accounts.

            63.   Betancourt and Kang also misrepresented and/or failed to disclose the purpose of

   the “margin calls” on Canto’s investments as well as their own authority to conduct such margin

   calls.

            64.   As explained above, Betancourt and Kang conducted purported “margin calls” and

   withdrew funds from Canto’s investment accounts without the authority to do so. Betancourt and

   Kang either failed to inform Canto of these withdrawals or misrepresented their purpose.

            65.   The minimal account statements that Canto did receive, did not reflect the amounts

   or dates that the “margin calls” were conducted. Thus, Canto was unaware, and remains unaware,

   of how many margin calls were conducted and what amounts were withdrawn.

            66.   When Betancourt and Kang did inform Canto that they would be conducting margin

   calls, they misrepresented the purpose of the withdrawals. For example, on May 17, 2022, Kang

   falsely claimed that certain “counterparties” were requesting additional funds to conduct a margin

   call on Canto’s account because it had a negative balance of approximately $140,000.




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          67.     In June 2022, Betancourt and Kang called Canto and demanded that he pay

   approximately $2 million as a margin call for collateral under the Loan Agreements because his

   investment account was underwater.

          68.     These and other representations about the need for margin calls were false. These

   funds and the other “margin calls” conducted by Betancourt and Kang were not because BKCoin

   needed collateral under the Loan Agreements but rather, they needed funds to continue

   commingling accounts to pay themselves, BKCoin’s operating costs, and investors who were

   pulling their money out.

          69.     Betancourt’s and Kang’s misrepresentations and omissions were material. Had

   Betancourt and Kang not misrepresented the nature of Canto’s investment holdings or disclosed

   their conduct (mismanagement and commingling of investment accounts, improper margin calls,

   etc.), Canto would have withdrawn his funds prior to his losses.

   B. BKCoin Similarly Breaches its Fiduciary Duties to Other Investors

          70.     On or about October 28, 2022, BKCoin filed an Emergency Petition for

   Appointment of Receiver in an action styled, BKCoin Management, LLC, et al v. BKCoin Multi-

   Strategy Fund, Ltd., et al, Case No. 2022-020760-CA-01, pending before the Eleventh Judicial

   Circuit Court of Florida in Miami-Dade County (the “BKCoin Receivership Action”).

          71.     The BKCoin Receivership Action, which was initiated by Betancourt, alleges that

   Kang has diverted or comingled $12 million in cash and other assets out of various funds controlled

   by Betancourt and Kang.

          72.     The BKCoin Receivership Action demonstrates that various funds controlled by

   Betancourt and Kang were mismanaged, and Canto is not alone in the harm he suffered.




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          73.     Upon information and belief, Defendants separately hold or manage investors’

   funds (including Canto’s funds). Instead, all investors’ funds were commingled and BKCoin

   through, Betancourt and Kang, would raid the funds for various purposes including funding

   BKCoin’s operating account and using some investors’ funds to pay off other investors who were

   liquidating their accounts.

          74.     Similar to their conduct towards Canto, BKCoin breached its fiduciary duties by

   failing to disclose or provide proper accounting to all investors.

          75.     Months prior to the institution of the BKCoin Receivership Action, Canto requested

   a disclosure regarding the status of his investments. Canto also requested BKCoin liquidate his

   portfolio. Because BKCoin comingled Canto’s investments with other investors in the various

   funds (and potentially used Canto’s funds for other purposes, see ¶ 58, supra), neither BKCoin,

   Betancourt, or Kang could either identify Canto’s current holdings or comply with his instructions

   to liquidate his holdings, causing Canto further losses.

          76.     Defendants’ malfeasance likewise extends to all parties who trusted the various

   entities under the BKCoin Capital umbrella to manage their money.

          77.     All conditions precedent to the institution, maintenance, and conclusion of this

   action, if any, have been performed, waived, or executed.

          78.     Canto is suing regarding the breaches of fiduciary duty arising from the Investment

   Management Agreements only. The loan agreements are mentioned here because they formally

   define the parties’ modifications of their legal and other contractual duties.

                                   V.      CLASS ALLEGATIONS

   Class Definition

          79.     Canto brings this action on his own behalf, and on behalf of all persons similarly


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   situated, pursuant to Rules 23(a) and (b)(2) or (b)(3) of the Federal Rules of Civil Procedure. This

   action satisfies the numerosity, commonality, typicality, adequacy, predominance, and superiority

   requirements of those provisions. Canto seeks to certify the following proposed nationwide class:

          The Nationwide Class

          All persons in the United States who invested in any funds under the BKCoin
          Capital umbrella, including BKCoin, and the Multi-Strat Funds, all of which were
          controlled by Betancourt and Kang.

          80.     Excluded from the proposed class are Defendants, their employees, officers,

   directors, legal representatives, heirs, successors, and wholly or partly owned subsidiaries or

   affiliated companies; Class Counsel and their employees; and the judicial officers and their

   immediate family members and associated court staff assigned to this case.

          81.     Canto reserves the right to modify, expand, or amend the definitions of the proposed

   class following the discovery period and before the Court determines whether class certification is

   appropriate.

          82.     Certification of Canto’s claims for class-wide treatment is appropriate because

   Canto can prove the elements of his claims on a class-wide basis using the same evidence as would

   be used to prove those elements in individual actions alleging the same claims.

   Numerosity

          83.     This action satisfies the requirements of Federal Rule of Civil Procedure 23(a)(1).

   There are dozens of investors in the funds under the BKCoin Capital.

          84.     The identities of Class members are ascertainable, as the names and addresses of

   all Class members can be identified in BKCoin Capital’s or its affiliates’ books and account

   records. Canto anticipates providing appropriate notice to the certified class in compliance with

   Federal Rule of Civil Procedure 23(c)(2)(A) and/or (B), to be approved by the Court after class



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   certification, or pursuant to court order under Federal Rule of Civil Procedure 23(d).

   Commonality

          85.      This action satisfies the requirements of Federal Rule Civil Procedure 23(a)(2) and

   23(b)(3) because there are questions of law and fact that are common to the class. These common

   questions predominate over any questions affecting only individual Class members.              The

   predominating common or Class-wide fact questions include, without limitation:

                a. Whether Defendants breached their fiduciary duties by commingling funds
                   from separate accounts, cryptocurrency wallets, or funds under the umbrella
                   of BKCoin Capital;

                b. Whether Betancourt and Kang aided and abetted BKCoin’s breaches of
                   fiduciary duty by directing, supervising, or otherwise managing the
                   commingling funds from separate accounts, cryptocurrency wallets, or
                   funds under the umbrella of BKCoin Capital;

                c. Whether Betancourt and Kang improperly diverted Canto’s and the Class
                   members’ money and assets out of the funds they managed;


                d. Whether Betancourt and Kang aided and abetted BKCoin Capital and its
                   subsidiary funds in diverting or otherwise mismanaging investor funds; and

                e. Whether Betancourt and Kang provided investors with timely and accurate
                   updates regarding the performance of their investments.

   Typicality

          86.      This action satisfies the requirements of Federal Rule of Civil Procedure 23(a)(3)

   because Canto’s claims are typical of the claims of each of the Class members, as all Class

   members were and are similarly affected and their claims arise from the same wrongful conduct

   of Defendants. Each Class member invested in investment funds controlled and owned by

   Defendants.

   Adequacy of Representation

          87.      Canto will fairly and adequately protect the interests of the Class members. Canto


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   is committed to the vigorous prosecution of this action and there is no hostility or conflict between

   or among Canto and the unnamed Class members.                Canto anticipates no difficulty in the

   management of this litigation as a class action.

           88.     To prosecute this case, Canto has chosen the undersigned law firm, who has

   substantial experience in the prosecution of large and complex class action litigation and has the

   financial resources to meet the costs associated with the vigorous prosecution of this type of

   litigation. Canto and his counsel will fairly and adequately protect the interest of all Class

   members.

   Superiority/Predominance

           89.     This action satisfies the requirements of Federal Rule of Civil Procedure 23(b)(3).

   A class action is superior to other available methods for the fair and efficient adjudication of the

   rights of the Class members. The joinder of individual Class members is impracticable because

   of the vast number of Class members invested in funds under the umbrella of BKCoin Capital.

           90.     The expense and burden of individual litigation would make it difficult or

   impossible for actions by each Class member for the same activities, conduct, or nonfeasance to

   redress the wrongs done to each of them individually, such that most Class members may have no

   rational economic interest in individually controlling the prosecution of specific actions. The

   burden imposed on the judicial system by individual litigation, and to the Defendants, by even a

   small fraction of the Class members, would be substantial.

           91.     In comparison to piecemeal litigation, class action litigation presents far fewer

   management difficulties, far better conserves the resources of both the judiciary and the parties,

   and far more effectively protects the rights of each Class member. The benefits to the legitimate

   interests of the parties, the court, and the public resulting from class action litigation substantially



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   outweigh the expenses, burdens, inconsistencies, economic infeasibility, and inefficiencies of

   individualized litigation. Class adjudication is simply superior to other alternatives under Federal

   Rule of Civil Procedure 23(b)(3)(D).

           92.     Canto is unaware of any obstacles likely to be encountered in the management of

   this action that would preclude its maintenance as a class action. Rule 23 provides the Court with

   the authority and flexibility to maximize the efficiencies and benefits of the class mechanism and

   reduce management challenges. The Court may, on motion of Canto or on its own determination,

   certify nationwide and statewide classes for claims sharing common legal questions; utilize the

   provisions of Federal Rule of Civil Procedure 23(c)(4) to certify particular claims, issues, or

   common questions of law or of fact for class-wide adjudication; certify and adjudicate bellwether

   class claims; and utilize Federal Rule of Civil Procedure 23(c)(5) to divide any Class into

   subclasses.

   Requirements of Federal Rule of Civil Procedure 23(b)(2)

           93.     Defendants have acted or failed to act in a manner generally applicable to the Class

   members in the Nationwide Class thereby making appropriate final injunctive relief or

   corresponding declaratory relief with respect to either or all of the classes

                                    VI.     CLAIMS FOR RELIEF

                                          COUNT I
                  BREACH OF FIDUCIARY DUTY—FAILURE TO DISCLOSE
                       (Plaintiff Canto Individually Against BKCoin)

           94.      Canto re-alleges and incorporates paragraphs 1-78 of this Complaint as though

   fully set forth herein.

           95.      Canto engaged BKCoin as his investment manager to oversee and supervise his

   cryptocurrency portfolio.



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          96.          At all times relevant to this litigation, BKCoin owed Canto several fiduciary

   duties. BKCoin’s fiduciary duties included, but are not limited to, obligations to act prudently in

   the management of Canto’s portfolio, to discharge its actions in loyalty and good faith, to act in

   Canto’s best interests, and to put Canto’s interests before its own.

          97.          BKCoin also owed fiduciary (and contractual) duties to Canto to communicate

   with him regarding the status of his cryptocurrency portfolio and to disclose material facts related

   thereto. BKCoin was obligated to exercise the highest degree of skill and care

          98.          Canto vested his trust and confidence in BKCoin to execute its responsibilities.

          99.          Initially in their relationship, BKCoin provided Canto statements virtually every

   month detailing the status of his investment portfolio at BKCoin. Canto earned substantial gains

   on his portfolio during that time.

          100.         However, beginning in or about July 2021, BKCoin suddenly ceased providing

   these monthly statements to Canto as soon as Canto’s portfolio began to experience losses. After

   an update in October 2021, more than half a year passed without BKCoin providing any statements

   to Canto on the then-present status of Canto’s investment portfolio.

          101.         During the time that BKCoin failed to keep Canto informed, his investment

   portfolio suffered considerable losses.

          102.         Nearly a year later, and only after multiple requests by Canto for information on

   his investment portfolio, did BKCoin inform Canto that his investments were under water by at

   least $1 million.

          103.         But for the lack of portfolio statements provided by BKCoin and its breaches of

   fiduciary duty, Canto would have liquidated his investment portfolio at an advantageous time and

   would not have suffered those losses.



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          104.      As a result, Canto was unable to sell his investment portfolio when it reached its

   highs to reap millions of dollars. Now, his once multimillion-dollar portfolio is underwater.

          105.      Pursuant to the BKCoin Receivership Action, any and all actions to establish or

   enforce any claim, right, or interest against BKCoin and certain of its affiliated entities are

   enjoined.

                    WHEREFORE, and in light of the stay in the BKCoin Receiver Action, Canto

   does not presently seek any relief or establish any claim against BKCoin.

                                            COUNT II
                 AIDING AND ABETTING BREACH OF FIDUCIARY DUTY—
                                  FAILURE TO DISCLOSE
                                (Against Betancourt and Kang
                     On Behalf of Plaintiff Canto and the Nationwide Class)

          106.      On behalf of the Class and himself, Canto re-alleges and incorporates paragraphs

   1-93 and 95-105 of this Complaint as though fully set forth herein.

          107.       BKCoin owed Canto and the other Class members (including investors in the

   Multi Strat Funds) several fiduciary duties. BKCoin’s fiduciary duties included, but are not limited

   to, obligations to act prudently in the management of Canto and other Class members’ portfolios,

   to discharge its actions in loyalty and good faith, to act in Canto’s and the other investors’ best

   interests, and to put the investors’ interests before its own.

          108.      Betancourt and Kang were principals of BKCoin and responsible for managing

   the investments and Funds. Betancourt and Kang substantially assisted BKCoin’s breach of its

   fiduciary duties by improperly failing to communicate with investors regarding the status of their

   investment portfolios.




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          109.         Betancourt and Kang knew that BKCoin was bound to communicate to Canto and

   other Class members regarding the status of and nature of their investment portfolios and to

   disclose all material information.

          110.         As principals of the company and as managers of the investors’ funds, Betancourt

   and Kang were responsible for providing communications and disclosures on behalf of BKCoin to

   Canto and other Class members. Betancourt and Kang, however failed to provide such

   communications with investors and, thereby, also substantially assisted in BKCoin’s breach of its

   fiduciary duties.

          111.         Instead of enabling BKCoin to carry out its fiduciary responsibilities, Betancourt

   and Kang knowingly participated in BKCoin’s breaches of fiduciary duties to Canto and the Class

   members by not providing the requisite and necessary updates regarding the management of their

   investment portfolios. Under Betancourt’s and Kang’s leadership, and as result of their

   nonfeasance, many months passed before Canto or Class Members received any portfolio

   statements from BKCoin or accurate statements.

          112.         To date, BKCoin has refused to provide Canto information regarding the status of

   his investment portfolio. BKCoin has likewise failed to provide similar information to Class

   members, and as a result, Canto and Class members have suffered damages as they were, among

   other things, prevented from taking actions to prevent losses or sell at more advantageous times

   resulting from the breaches of fiduciary duties aided and abetted by Betancourt and Kang.




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                                              COUNT III
                               BREACH OF FIDUCIARY DUTY—
                                     FAILURE TO DISCLOSE
                                   (Against Betancourt and Kang
                        On Behalf of Plaintiff Canto and the Nationwide Class)

          113.    On behalf of the Class and himself, Canto re-alleges and incorporates paragraphs

   1-93 of this Complaint as though fully set forth herein.

          114.        Betancourt and Kang have registered with the SEC as investment advisors and

   therefore are subject to the requirements of the Investment Advisors Act, 15 U.S.C. 80b-1, et seq.

   (“IAA”).

          115.        Betancourt and Kang acted as investment advisors/managers for Canto and the

   other Class members (including investors in the Multi Strat Funds). Under the IAA, Betancourt

   and Kang owed several fiduciary duties to the investors. These duties included, but are not limited

   to, obligations to act prudently in the management of Canto and other Class members’ portfolios,

   to discharge their actions in loyalty and good faith, to act in Canto’s and the other investors’ best

   interests, and to put the investors’ interests before its own.

          116.        Canto vested his trust and confidence in Betancourt and Kang to execute their

   responsibilities

          117.        Betancourt and Kang were principals of BKCoin and responsible for managing

   the investments and the Multi-Strat Funds. Betancourt and Kang breached their fiduciary duties

   by improperly failing to communicate with investors regarding the status of their investment

   portfolios.

          118.        Betancourt and Kang knew that they were bound to communicate to Canto and

   other Class members regarding the status of and nature of their investment portfolios and to

   disclose all material information.



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          119.      As principals of the company and as the investment managers of the investors’

   funds, Betancourt and Kang were responsible for providing communications and disclosures to

   Canto and other Class members. Betancourt and Kang, however failed to provide such

   communications to investors and, thereby, breached their fiduciary duties.

          120.      Betancourt and Kang breached their fiduciary duties to Canto and the Class

   members by not providing the requisite and necessary updates regarding the management of their

   investment portfolios. Under Betancourt’s and Kang’s leadership, and as result of their

   nonfeasance, many months passed before Canto or Class Members received any portfolio

   statements or accurate statements.

          121.    During the time that Betancourt and Kang failed to keep Canto informed, his

   investment portfolio suffered considerable losses.

          122.      Nearly a year later, and only after multiple requests by Canto for information on

   his investment portfolio, did Betancourt and Kang inform Canto that his investments were under

   water by at least $1 million.

          123.      But for the lack of portfolio statements provided by Betancourt and Kang and their

   breaches of fiduciary duty, Canto would have liquidated his investment portfolio at an

   advantageous time and would not have suffered those losses.

          124.      As a result, Canto was unable to sell his investment portfolio when it reached its

   highs to reap millions of dollars. Now, his once multimillion-dollar portfolio is underwater.

          125.      To date, Betancourt and Kang have refused to provide Canto information

   regarding the status of his investment portfolio. They have likewise failed to provide similar

   information to Class members, and as a result, Canto and Class members have suffered damages

   as they were, among other things, prevented from taking actions to prevent losses or sell at more



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   advantageous times resulting from the breaches of fiduciary duties aided and abetted by Betancourt

   and Kang.

                                           COUNT IV
                 BREACH OF FIDUCIARY DUTY—IMPROPER MARGIN CALLS
                         (Plaintiff Canto individually Against BKCoin)

           126.     Canto re-alleges and incorporates paragraphs 1-78 of this Complaint as though

   fully set forth herein.

           127.     As the appointed investment manager of Canto’s investment portfolio, BKCoin

   owed fiduciary duties to Canto to act in the utmost good faith and loyalty. At all times relevant to

   this litigation, BKCoin owed Canto several fiduciary duties. BKCoin’s fiduciary duties included,

   but are not limited to, obligations to act prudently in the management of Canto’s portfolio, to

   discharge its actions in loyalty and good faith, to act in Canto’s best interests, and to put Canto’s

   interests before its own.

           128.     BKCoin violated its fiduciary duties to Canto by conducting ultra vires acts not

   permitted under the agreements or otherwise authorized by Canto.

           129.     The loan agreements permitted margin calls only in specific circumstances, and

   only in the event where BKCoin provided loans in the form of cryptocurrency to Canto. See Ex. B

   at § IV(b).


           130.     Here, BKCoin had no right to conduct margin calls under the loan agreements

   because Canto did not borrow cryptocurrency from BKCoin. Instead, Canto directly borrowed

   U.S. dollars from BKCoin. In exchange, Canto agreed to BKCoin’s use of his cryptocurrency

   holdings as collateral to satisfy the loans.

           131.     Without consideration for Canto’s financial interests or his prior authorization,

   BKCoin seized additional collateral—conduct not authorized under the loan agreements.


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          132.     Canto suffered millions of dollars in damages due to BKCoin’s violation of its

   fiduciary duties by unilaterally seizing cryptocurrency from Canto’s investment portfolio to cover

   BKCoin’s loans to Canto. Canto did not authorize those seizures, whether orally or through the

   loan agreements. At most, BKCoin could only request that Canto supply additional collateral.

          133.     Betancourt informed Canto that several margin calls were conducted on his

   investment portfolio that ultimately resulted, in part or otherwise, in his multi-million-dollar

   investment portfolio being depleted and underwater by at least $1 million. BKCoin has refused to

   provide Canto information regarding the current status of his investment portfolio. BKCoin sold

   Canto’s cryptocurrency or removed them from traditional trades, the latter of which prevent him

   from reaping investment gains from his portfolio.

          134.     BKCoin breached its fiduciary duties by taking actions calculated to protect and

   advance the interests of BKCoin in a manner not authorized by law or any contractual arrangement

   of the parties. Those breaches resulted in the multi-million-dollar losses in Canto’s investment

   portfolio.

          135.     Pursuant to the BKCoin Receivership Action, any and all actions to establish or

   enforce any claim, right, or interest against BKCoin and certain of its affiliated entities are

   enjoined.

                    WHEREFORE, and in light of the stay in the BKCoin Receiver Action, Canto

   does not presently seek any relief or establish any claim against BKCoin.

                                            COUNT V
                 AIDING AND ABETTING BREACH OF FIDUCIARY DUTY—
                                 IMPROPER MARGIN CALLS
                   (Plaintiff Canto individually Against Betancourt and Kang)

          136.      Canto re-alleges and incorporates paragraphs 1-78 and paragraphs 127-135 of this

   this Class Complaint as though fully set forth herein.


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          137.      At all times relevant to this litigation, BKCoin owed Canto several fiduciary

   duties. BKCoin’s fiduciary duties included, but are not limited to, obligations to act prudently in

   the management of Canto’s portfolio, to discharge its actions in loyalty and good faith, to act in

   Canto’s best interests, and to put Canto’s interests before its own.

          138.      BKCoin breached its fiduciary duties by conducting improper and unilateral

   margin calls in which BKCoin removed from trading or otherwise seized and/or sold Canto’s

   cryptocurrency to provide additional collateral for BKCoin’s loans to Canto.

          139.      Betancourt and Kang knowingly participated in BKCoin’s improper margin calls

   by directing, performing, or otherwise authorizing margin calls to protect their company’s interests

   over Canto’s interests.

          140.      Betancourt informed Canto that BKCoin conducted several margin calls on

   Canto’s investment portfolio—without Canto’s knowledge or approval—that ultimately resulted

   in his multi-million investment portfolio being depleted and underwater by at least $1 million.

          141.      To date, BKCoin, Betancourt, and Kang have refused to provide Canto

   information regarding the current status of his investment portfolio. BKCoin sold Canto’s

   cryptocurrency or removed them from traditional trades, the latter of which prevent him from

   reaping investment gains from his portfolio.

          142.      Kang and Betancourt aided and abetted BKCoin’s breach of its fiduciary duties

   by taking actions calculated to protect and advance the interests of BKCoin in a manner not

   authorized by law or any contractual arrangement of the parties. The concerted actions of BKCoin,

   Betancourt, and Kang resulted in the multi-million-dollar losses in Canto’s investment portfolio.




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                                            COUNT VI
                                BREACH OF FIDUCIARY DUTY—
                                  IMPROPER MARGIN CALLS
                    (Plaintiff Canto individually Against Betancourt and Kang)

          143.      Canto re-alleges and incorporates paragraphs 1-78 of this this Complaint as

   though fully set forth herein

          144.      Betancourt and Kang have registered with the SEC as investment advisors and

   therefore are subject to the requirements of the Investment Advisors Act, 15 U.S.C. 80b-1, et seq.

          145.      Betancourt and Kang acted as investment advisors/managers for Canto and under

   the IAA, Betancourt and Kang owed several fiduciary duties to the investors. These duties

   included, but are not limited to, obligations to act prudently in the management of Canto and other

   Class members’ portfolios, to discharge their actions in loyalty and good faith, to act in Canto’s

   and the other investors’ best interests, and to put the investors’ interests before their own.

          146.    Betancourt informed Canto that several margin calls were conducted on his

   investment portfolio that ultimately resulted, in part or otherwise, in his multi-million-dollar

   investment portfolio being depleted and underwater by at least $1 million. BKCoin has refused to

   provide Canto information regarding the current status of his investment portfolio. BKCoin sold

   Canto’s cryptocurrency or removed them from traditional trades, the latter of which prevent him

   from reaping investment gains from his portfolio.

          147.    Betancourt and Kang seized additional collateral, without consideration for Canto’s

   financial interests or his prior authorization—conduct not authorized under the loan agreements.

          148.      Canto suffered millions of dollars in damages due to Betancourt’s and Kang’s

   violation of their fiduciary duties by unilaterally seizing cryptocurrency from Canto’s investment

   portfolio to cover BKCoin’s loans to Canto. Canto did not authorize those seizures, whether orally




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   or through the loan agreements. At most, Betancourt and Kang could only request that Canto

   supply additional collateral.

          149.      BKCoin breached its fiduciary duties. Those breaches resulted in the multi-

   million-dollar losses in Canto’s investment portfolio

          150.      Betancourt and Kang breached their fiduciary duties by taking actions calculated

   to protect and advance the interests of BKCoin in a manner not authorized by law or any

   contractual arrangement of the parties. Betancourt and Kang conducted improper and unilateral

   margin calls in which they removed from trading or otherwise seized and/or sold Canto’s

   cryptocurrency to provide additional collateral for BKCoin’s loans to Canto.

          151.      Betancourt and Kang knowingly directed, performed, or otherwise authorized

   these margin calls to protect their own interests over Canto’s interests.

          152.      Betancourt and Kang conducted or authorized several margin calls on Canto’s

   investment portfolio—without Canto’s knowledge or approval—that ultimately resulted in his

   multi-million investment portfolio being depleted and underwater by at least $1 million.

          153.      To date, Betancourt and Kang have refused to provide Canto information

   regarding the current status of his investment portfolio. Betancourt and Kang sold Canto’s

   cryptocurrency or removed it from traditional trades, the latter of which prevent him from reaping

   investment gains from his portfolio.

          154.      Kang and Betancourt breached their fiduciary duties by taking actions calculated

   to protect and advance the interests of themselves or BKCoin in a manner not authorized by law

   or any contractual arrangement of the parties. The concerted actions of Betancourt and Kang

   resulted in the multi-million-dollar losses in Canto’s investment portfolio.




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                                      COUNT VII
   BREACH OF FIDUCIARY DUTY—IMPROPER MISUSE/COMMINGLING OF FUNDS
                           (Against Betancourt and Kang
                On Behalf of Plaintiff Canto and the Nationwide Class)

          155.    On behalf of the Class, Canto re-alleges and incorporates paragraphs 1-93 of this

   Complaint as though fully set forth herein.

          156.    Betancourt, and Kang, as registered investment advisors, along with BKCoin owed

   Canto and the other Class members (including investors in the Multi Strat Funds) several fiduciary

   duties. Those fiduciary duties included, but are not limited to, obligations to act prudently in the

   management of Canto’s and other Class member’s portfolios, to discharge their actions in loyalty

   and good faith, to act in Canto’s and the other investors’ best interests, and to put the investors’

   interests before their own.

          157.    BKCoin, Betancourt, and Kang breached their duties when they commingled or

   otherwise misappropriated investors’ monies that were under their control.

          158.    As senior management of BKCoin, Betancourt and Kang were responsible for

   ensuring that BKCoin and the Multi-Strat Funds executed their fiduciary duties to Canto and other

   investors.

          159.    Instead of enabling BKCoin and the Multi-Strat Funds to carry out their fiduciary

   responsibilities, and in addition to their breaches of fiduciary duties, Betancourt and Kang

   knowingly participated in breaches of fiduciary duties to Canto and other investors by knowingly

   commingling and misappropriating funds for improper purposes. As an apparent result of the

   comingling and misappropriation, by the time BKCoin notified Canto of the status of his

   investment portfolio in June 2022, BKCoin claimed that Canto’s multi-million-dollar investment

   portfolio was underwater by at least $1 million. Other Class Members experienced similar losses.




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           160.    Betancourt has provided sworn allegations against Kang, confirming that

   $12 million in cash or other investment funds were diverted from investor accounts to the

   detriment of Canto and the Class.

           161.    Betancourt knew of the commingling and misuse of investor funds but failed to act

   until it was too late. For multiple months, Betancourt stalled providing Canto updates regarding

   his account at a time he must have known of commingling and misuse of investor funds.

   Betancourt retained or commissioned multiple law firms to stall Canto and protect against

   revealing the breaches of fiduciary duties—knowingly allowing for the continued misuse of

   investor funds to the detriment of Canto and the Class members.

           162.    But for Betancourt’s and Kang’s tortious acts and substantial assistance in

   BKCoin’s breach of its fiduciary duties, Canto and other Class members would not have suffered

   losses as the result of Defendants’ breaches.     Class members’ losses flow directly from the

   concerted actions of BKCoin’s principals—Betancourt and Kang.

                                            COUNT VIII
                              FRAUDULENT MISREPRESENTATION
                   (Plaintiff Canto individually Against Betancourt and Kang)

           163.    Canto re-alleges and incorporates paragraphs 1-78 of this this Complaint as though

   fully set forth herein.

           164.    Betancourt and Kang made several fraudulent misrepresentations and omissions to

   Canto regarding his investments. These misrepresentations include:

           a. Providing Canto with false investment account statements that showed his investments

               being held in his own investment account when in fact his investments were being

               commingled with other investors’ funds and being mismanaged and misappropriated;




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            b. Providing Canto with false investment account statements that showed inaccurate

               amounts of his investment holdings because Betancourt and Kang had commingled his

               funds with other investors and misappropriated funds for their own personal gain, to

               pay BKCoin’s operating costs, or to pay other investors;

            c. Providing Canto with false investment account statements that showed inaccurate

               amounts of his investment holdings because the statements did not reflect that

               Betancourt and Kang had been conducting improper “margin calls” on his investment

               holdings;

            d. Failing to disclose to Canto the nature of their misconduct and mismanagement of his

               funds including failing to disclose the dates and amounts of when they conducted

               purported “margin calls” on Canto’s investment funds; and

            e. In June 2022, representing to Canto on the phone that his account was under water by

               approximately $1 million due to standard investment losses when in fact Canto’s

               investment losses were due to Betancourt and Kang misappropriating his funds for

               other purposes.

            165.   Betancourt and Kang intended for Canto to rely on their false representations and

   omissions so that Canto would not liquidate his accounts and seek the return of his investment

   funds.

            166.   Canto had no way of reasonably knowing that Betancourt and Kang were

   misrepresenting the true nature of his investment accounts so that they could continue to

   misappropriate funds for improper purposes.




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          167.    As a direct and proximate result of Betancourt’s and Kang’s knowing

   misrepresentations and omissions, Canto has sustained damages by, among other things, not

   immediately withdrawing his funds from BKCoin to mitigate his losses.

                                       PRAYER FOR RELIEF

          WHEREFORE, Canto, on behalf of himself and all other similarly situated Class

   members, request that the Court enter judgment against Defendant Betancourt and Defendant Kang

   only as follows:

          (1)     Declare this action to be a proper class action maintainable under Rule 23(b)(2) and

   Rule 23(b)(3) of the Federal Rules of Civil Procedure and designate and appoint Canto as class

   and/or subclass representative and his chosen counsel as Class Counsel for Counts II, III, and VII;

          (2)     Hold that Betancourt and Kang breached their fiduciary duties to all Class members

   by commingling and otherwise misappropriating investor funds under their control;

          (3)     Hold that Betancourt and Kang aided and abetted BKCoin’s breach of fiduciary

   duties to all Class members by failing to provide updates as to the status Class members’

   investments;

          (4)     Hold that Betancourt and Kang breached their fiduciary duties to all Class members

   by failing to provide updates as to the status Class members’ investments;

          (5)     Hold that Betancourt and Kang breached their fiduciary duties to Canto by

   conducting improper “margin calls” on his investments;

          (6)     Hold that Betancourt and Kang aided and abetted BKCoin’s breach of fiduciary

   duties to Canto by conducting improper “margin calls” on his investments;

          (7)     Hold that Betancourt and Kang committed fraud by providing false account

   statements and information to Canto regarding his investment accounts;


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          (8)     Hold that Betancourt and Kang committed fraud by misrepresenting the reason for

   and their authority to conduct the “margin calls” on Canto’s investment account;

          (9)     Hold that Betancourt and Kang committed fraud by hiding material facts from

   Canto regarding his investments including the fact that his funds were being misappropriated for

   improper purposes;

          (10)    Award Canto and Class members actual, compensatory, and punitive remedies,

   including interest, in an amount to be proven at trial under applicable claims;

          (11)     Award Canto and Class members their reasonable attorneys’ fees and costs, as

   allowed by law; and

          (12)    Award Canto and Class members any further and different relief as this case may

   require or as determined by this Court to be just, equitable, and proper under the circumstances.

                                       JURY TRIAL DEMAND

                  Plaintiff Canto demands a trial by jury on all claims.

   Dated: January 20, 2023.                      KOZYAK TROPIN & THROCKMORTON LLP
                                                 Attorneys for Alejandro Canto
                                                 2525 Ponce de Leon Blvd., 9th Floor
                                                 Miami, Florida 33134
                                                 Tel.: 305-372-1800/Fax: 305-372-3508

                                                 By: /s/ Dwayne A. Robinson
                                                 Dwayne A. Robinson, Esq. (pro hac vice)
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     COMPOSITE
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                                     INVESTMENT MANAGEMENT AGREEMENT

           This Agreement is made this 16th day of March, 2020 (this “Agreement”), by and between BKCoin
     Management LLC, a Delaware limited liability company with principal place of business located at 38 E 37,h Street
     #11, New York, New York 10016 (the “Manager”), a limited liability company, and Mr. Alejandro Canto, a
     Washington State resident with principal place of residence at 15030 16th Pl W Lynnwood, WA 98087 (the
     “Client”)(each a “Party” and collectively the “Parties”). The Parties agree as follows:

             1. Appointment. Client hereby appoints Manager as an investment manager to manage such of Client’s
     cryptocurrency (Bitcoin) assets, pursuant to the terms of this Agreement, as Client shall from time to time assign to
     it, the proceeds from the sale of such cryptocurrency assets, and the income attributable to such cryptocurrency
     assets (the “Account"). Client shall promptly notify Manager in writing of any increase or reduction in the amount
     of the Account’s assets subject to Manager’s investment direction.

            2. Authority of Manager. Manager is authorized to supervise and direct the investment and reinvestment of the
     cryptocurrency assets in the Account, subject to such limitations as are contained in the Guidelines described in
     Section 3 of this Agreement, as they may be from time to time amended, and subject to Client’s right to direct the
     investment of the Account, if so desired, by means of Instructions as described in Section 3 of this Agreement.
     Manager, as Client’s agent and attomey-in-fact with respect to the Account, when it deems appropriate and without
     prior consultation with Client, may: (a) buy, sell, exchange, convert and otherwise invest or trade in Bitcoin, at such
     times and in such manner as Manager determines; (b) place orders for the execution of such Bitcoin with or through
     such brokers, dealers or issuers as Manager may select, which brokers or dealers are entitled to receive
     compensation out of the Account for their services; and (c) execute any documentation as the Account’s agent and
     attomey-in-fact as Manager may deem necessary to facilitate any such investment or reinvestment. Manager, as
     Client’s agent and attomey-in-fact with respect to the Account, when it deems appropriate and without prior
     consultation with Client, may engage external legal counsel to review relevant trade-related documentation, and
     charge the Account for such costs. Manager may give a copy of this Agreement to any broker, dealer or other party
     to a transaction, as evidence of its authority to act on the Account’s behalf.

           The cryptocurrency assets of the Account shall be held in an account that is owned by Client. Notwithstanding
    the foregoing, given the unique nature of the cryptocurrency exchanges, and given that Manager has corporate level
    accounts across numerous exchanges that allows it to execute the Investment Objectives contemplated herein, Client
    hereby consents to such temporary movement out of the Account and into the corporate accounts of Client among
    the various exchanges for purposes of execution of the Investment Objectives as Manager deems appropriate. In
    furtherance of this movement of the cryptocurrency assets. Client hereby grants to Manager a power of attorney
    coupled with an interest, authorizing and permitting Manager to take Client’s cryptocurrency assets out of the
    Account, move the cryptocurrency assets into Manager’s corporate accounts at whichever exchange that Manager
    deems appropriate for execution of the Investment Objectives, to execute the trades in such accounts as the Manager
    deems appropriate, and finally to move the money back into the Account upon conclusion of the strategy employed
    by Manager. The Parties also hold open the possibility that Client’s cryptocurrency assets may, at some point in the
    fbture, be held by a custodian (the “Custodian”) which shall have custody of the Account, and which shall be
    directed by Client to follow the directions relating to trading that is conveyed to the Custodian by the Manager. In
    such cases, Client shall not change the Custodian without giving Manager reasonable advance written notice of its
    intention to do so, together with the name and other relevant information with respect to the new Custodian.
    Manager shall not be liable for any act or omission of any Custodian used.

           3. Guidelines and Instructions. Attached hereto as Exhibit A is a statement of the investment objectives of
    Client together with a statement of any and all specific investment restrictions applicable to the investment of the
    Account (the “Guidelines”). Client shall have the right at all times to modify the Guidelines or to give Manager
    instructions (“Instructions”) to buy, sell or retain any investment, but no modification of the Guidelines and no
    Instructions or modifications of Instructions shall be binding upon Manager unless Manager has received written
    notice of them from an Authorized Person (as defined in Section 5(d)). Manager shall have a reasonable period to
    bring the Account into compliance with any changes to the Guidelines. Manager shall be under no duty to make any
    investigation or inquiry as to any statement contained in any written Guidelines or Instruction given and, unless and
    until specifically advised otherwise, Manager may accept the same as conclusive evidence of the truth and accuracy
    of the statements contained therein. The Guidelines and all Instructions, unless they expressly provide otherwise,
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     shall continue to be effective until duly canceled by subsequent modifications duly communicated to Manager in
     writing.


            4. Fees. As full compensation for its services under this Agreement, Manager shall be paid quarterly a
     management fee (the “Management Fee”) equal to one-fourth of the annual rates specified in Exhibit B. based on the
     asset value of the Account as of the last day of each calendar quarter on which a Bitcoin exchange is open for
     trading (the “Valuation Date”), and before deductions for the Performance Fee below. The initial billing period of
     the Management Fee will begin when this Agreement is signed by Client and accepted by Manager, and initial
     funding has been received by the Custodian (the “Inception Date”). The initial fee will be pro-rated to cover the
     period from the Inception Date through the Valuation Date for that calendar quarter and will be based on the
     valuation as of that Valuation Date. Future quarterly fees will be calculated similarly in arrears. If Manager shall
     serve for less than the whole of any quarter, its compensation shall be determined as provided above on the basis of
     the value of the assets in the Account as of the end of the date of termination and shall be payable on a pro rata basis
     for the period of the quarter for which it served as Manager hereunder. In addition, Manager shall be entitled to a
     performance fee (the “Performance Fee”) for good performance, and the terms of the Performance Fee are
     substantially set forth within Exhibit B below. Other than as specifically indicated in this Agreement, the Manager
     shall not be required to pay any expenses in connection with the investment management services that are
     contemplated herein. Client shall direct the Custodian automatically to charge to the Account and pay directly to
     Manager all of Manager’s fees upon the Custodian’s receipt of an invoice from Manager.

         5. Representations and Warranties. Client hereby acknowledges, represents and warrants to, and agrees with
     Manager, as follows:

                  (a) Client Assets. Client is the sole owner of all cryptocurrency assets in the Account and (i) there are no
     restrictions on the transfer, sale or public distribution of any such assets and (ii) no option, lien, charge, security or
     encumbrance exists over such assets, except as disclosed to Manager in writing.

                 (b) Authority. The Client has full authority and power to engage Manager under the terms and
     conditions of this Agreement, and such engagement does not violate Client’s constituent documents, any other
     material agreement, order or judgment of any court or governmental authority, or any law applicable to Client.
     Client further represents that all investments permitted herein are within its power to enter into and have been duly
     authorized.

                  (c) Form ADV. Client acknowledges receipt of Part II of Manager’s Form ADV. Notwithstanding
     anything to the contrary herein, if Client did not receive a copy of the Form ADV at least forty-eight (48) hours prior
     to execution of this Agreement, Client shall have the right to terminate this Agreement without penalty within five
     (5) business days of the execution of this Agreement; provided, however, that Client shall be at risk for any market
     fluctuations in the Account up to the time of such termination. Note that in light of the Manager’s taking on the
     management of Client’s cryptocurrency assets pursuant to this Agreement, Manager’s Form ADV will likely have to
     be amended, and Client will be provided with the amended Form ADV within a reasonable time following its
     successful posting.

                 (d) Authorized Persons. Any individual whose signature is affixed to this Agreement on Client’s behalf
    has full authority and power to execute this Agreement on Client’s behalf. Client represents that the officer specified
    on the attached Certification of Authorized Persons (Exhibit C) is authorized to act for Client and to certify to
    Manager from time to time, by listing on, and delivering to Manager Exhibit C or a substantially similar form, those
    other persons who also are so authorized to act on Client’s behalf (“Authorized Persons”). The Client shall promptly
    notify Manager in writing of any event that could reasonably be anticipated to affect any such individual’s authority
    under this Agreement.

                   (e) Notice of Certain Events. Client will promptly notify Manager in writing of any occurrence that
     results, or threatens to result, in any representations by Client contained in this Agreement becoming inaccurate,
     false, misleading or incomplete.

            6. Non-Exclusive Agreement. Nothing in this Agreement shall be deemed to limit or restrict Manager’s right,
     or the right of any of its officers, directors, employees, or independent contractors, to engage in any other business



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     or to devote time and attention to the management or other aspects of any business, whether of a similar or
     dissimilar nature, or to render investment advisory services or services of any kind to any other corporation, firm,
     association, fund or individual. Client understands that Manager provides investment advisory services and other
     services to numerous other clients and accounts. Client also understands that Manager may give advice and take
     action with respect to any of its other clients or for its own account which may differ from the timing or nature of
     action taken by Manager with respect to the Account.

            Nothing in this Agreement shall impose upon Manager any obligation to purchase or sell or to recommend for
     purchase or sale, with respect to the Account, any security (including long and short positions) which Manager, or
     its affiliates, or its or their shareholders, directors, officers, employees, or independent contractor may purchase or
     sell tor its or their own account(s) or for the account of any other client. Client acknowledges that Manager’s ability
     and that of its affiliates to effect or recommend transactions may be restricted by applicable regulatory requirements
     in the United States and elsewhere or its or their internal policies designed to comply with such requirements.
     Consequently, there may be periods when Manager may not initiate or recommend certain types of transactions in
     certain investments when Manager or its affiliates are performing services or when aggregated position limits have
     been reached, and Client will not be advised of that fact.

            7. Liability of Manager. Except as may otherwise be provided by law, Client specifically agrees that Manager
     shall not be liable for: (a) any loss that Client may suffer by reason of any investment decision made or other action
     taken or omitted in good faith and with that degree of care, skill, prudence and diligence under the circumstances
     then prevailing that a prudent person acting in a like capacity would use in the conduct of an enterprise of a like
     character and with like aims; (b) any loss, expense or other liability (including but not limited to attorneys’ fees)
     incurred by Client or Manager arising from or in connection with Manager’s compliance with the Guidelines or
     Instructions believed by Manager to be accurate; (c) any act or failure to act by any broker or other person with
     whom Manager or Client may deal in connection with the subject matter of this Agreement; or (d) any loss or failure
     or delay in performance of any obligation under this Agreement arising out of or caused, directly or indirectly, by
     circumstances beyond Manager’s reasonable control, including, without limitation, acts of God, earthquakes, fires,
     floods, wars, terrorism, civil or military disturbances, sabotage, epidemics, riots, interruptions, loss or malfunctions
     of utility, computer software or hardware, transportation or communication service, accidents, labor disputes, acts of
     civil or military authority, governmental actions and inability to obtain labor, material, equipment or transportation.

            8. Brokerage. Where Manager places orders, or directs the placement of orders, for the purchase or sale of
     Bitcoin for the Account, in selecting brokers or dealers to execute such orders, Manager is expressly authorized to
     consider, among other factors, the fact that a broker or dealer has furnished statistical, research or other information
     or services which enhance Manager’s investment research and portfolio management capability generally. Manager
     may negotiate with and assign to a broker a commission which may exceed the commission which another broker
     would have charged for effecting the transaction if Manager determines in good faith that the amount of commission
     charged was reasonable in relation to the value of brokerage and research services provided by such broker, viewed
     in terms either of the Account or Manager’s overall responsibilities to Manager’s discretionary accounts. With
     respect to the allocation of trades among the accounts it is managing, Manager shall not favor any account over any
     other and purchase or sale orders executed contemporaneously shall be allocated in a manner it deems equitable
     among the accounts involved.

           In no event shall Manager be obligated to effect or place an order for any transaction for Client which
     Manager believes would violate any applicable state or federal law, rule, or regulation, or of the regulations of any
     regulatory or self-regulatory body to which Manager or any of its affiliates is subject to at the time of the proposed
     transaction.

           9. Confidential Relationship. Each Party agrees that all non-public confidential information concerning the
     other Party which may become available to such party in connection with services, transactions or relationships
     contemplated in this Agreement shall at all times be treated in strictest confidence and shall not be disclosed to third
     persons except as (a) may be required by law or regulatory authority, including but not limited to any subpoena,
     administrative, regulatory or judicial demand or court order, (b) as otherwise set forth in this Agreement, or (c) upon
     the prior written approval of the other party to this Agreement. Client authorizes Manager (i) to include Client’s
     name in a representative or sample client list prepared by Manager, provided Manager shall not disclose Client
     contact information or any information about Client’s holdings, and (ii) to use Manager’s investment experience
     with respect to the Account, or the Account’s performance, in composite performance presentations, marketing



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     materials, attribution analyses, statistical compilations, or other similar compilations or presentations, provided such
     use does not disclose Client’s identity except to the extent permitted by Client.

            10. Reports. Manager shall send to Client a written report of the Account as of the Valuation Date of each
     calendar quarter. Such reports shall be submitted within a reasonable period following such Valuation Date. For the
     purposes of all reports made by Manager to Client, Bitcoin will be valued denominated in United States dollars,
     unless otherwise agreed by Manager and Client. Client shall examine promptly each such report and any other report
     provided by Manager. To the extent permissible under applicable law, upon the expiration of the sixty (60) day
     period immediately following the date of such report, or the termination of this Agreement as provided herein, if
     earlier, Manager shall be forever released and discharged from all liability and accountability to anyone with respect
     to each such report, including, without limitation, all acts and omissions of Manager shown or reflected in each such
     report, except with respect to any acts or omissions as to which Client shall have filed written objections with
     Manager within such sixty (60) day period. Nothing herein shall impair the right of Manager to a judicial settlement
     of any report rendered by it.

           11. Valuation. In computing the asset value of the Accounts, Manager shall use its best discretion to provide
    Client an accurate estimation of the fair market value of the Accounts at a given point in time. The method selected
    will factor in all relevant information, including but not limited to: bid-ask spread of the relevant cryptocurrency on
    various exchanges, the official closing price, if a market event occurs that calls into question the reliability of current
    market quotations. Whichever methodology is selected shall be explained to Client in a manner that may be easily
    understood by Client.

           12. Acknowledgment of Investment Risk. Notwithstanding any provision herein to the contrary, Client
    understands that the value of investments made for the Account may go down as well as up and is not guaranteed. In
    addition, Client has reviewed the risk factors at Exhibit E below. Client is fully aware and understands the risks
    associated with Manager’s cryptocurrency trading activities pursuant to this Agreement, and nevertheless wishes to
    engage Manager to provide such investment management services under the terms and conditions set forth herein.
    Client agrees that Manager has not made and is not making any guarantees, including without limitation a guarantee
    as to any specific level of performance of the Account. Client further understands and acknowledges that investment
    decisions made on behalf of Client’s Account by Manager are subject to various market, currency, economic, and
    business risks as well as the risk that those investment decisions will not always be profitable. Client acknowledges
    that past performance results achieved by accounts supervised or managed by Manager are not indicative of the
    future performance of the Account. Client understands that the Bitcoin in the Account is not guaranteed by Manager
    or any affiliate, is not insured by the Federal Deposit Insurance Corporation (“FDIC”) or any other government
    agency, and are subject to investment risk, including possible loss of principal amounts invested.

           13. Termination: Survival. This Agreement may be terminated by either party upon thirty (30) days’ written
    notice to the other party. Such termination will not, however, affect the liabilities or obligations of the parties under
    this Agreement arising from transactions initiated prior to such termination. Sections 4, 7,9, 10, 17, and 18 shall
    survive the termination of this Agreement. Upon any termination of this Agreement, Manager shall have no further
    obligations hereunder, provided that: (a) any liability under this Agreement of one party to the other shall survive
    and remain in full force and effect, notwithstanding such termination, with respect to any claim or matter on which
    either of the parties has given the other written notice prior to such termination (except that Manager may render to
    Client a statement of fees due Manager through the date of termination after such date), until such liability has been
    finally settled; (b) Manager retains the right to complete any transactions open as of the termination date and to
    retain amounts in the Account sufficient to effect such completion; and (c) Manager shall be entitled to its fees and
    expenses, pro rated to the date of termination. Upon termination, it shall be Client’s exclusive responsibility to issue
    instructions in writing regarding any assets in the Account.

          14. Assignment. This Agreement may not be assigned (within the meaning of the Investment Advisers Act of
    1940, as amended), in whole or in part, by Manager without the prior written consent of Client. Subject to the
    preceding sentence, Manager may delegate all or part of its duties under this Agreement to any affiliate.

           15. Communications. All reports and other communications required hereunder to be in writing shall be
    delivered in person or sent by first-class mail postage prepaid, overnight courier, or confirmed facsimile with
    original to follow.




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                 If to Client:

                 Mr. Alejandro Canto
                 15030 16th Pl W Lynnwood, WA 98087

                 Attention: Alejandro Canto

                 If to Manager:

                 BKCoin Management LLC
                 38E37lh Street #11
                 New York, New York 10016

                 Attention: Mr. Kevin Kang, Founding Principal/Manager

                 Attention: Mr. Carlos Betancourt, Founding Principal/Manager

           Either Party to this Agreement may, by written notice given at any time, designate a different address for the
     receipt of reports and other communications due hereunder.

            16. Governing Law: Venue. This Agreement shall be governed by and construed and enforced in accordance
     with the laws of the United States and with the laws of the State of Delaware, without giving effect to the choice of
     law or conflict of law provisions thereof. The parties hereby consent to jurisdiction and venue in the federal and
     state courts located in New York County of the State of New York.

            17. Entire Agreement: Modification. This Agreement along with all exhibits attached hereto: (a) sets forth the
     entire understanding of the parties with respect to the subject matter hereof; (b) supersedes any and all previous
     agreements, understandings and communications, oral or written, regarding this subject matter; and (c) may not be
     modified, amended, or waived except by a specific written instrument duly executed by the party against whom such
     modification, amendment, or waiver is sought to be enforced. In the event of any conflict or inconsistency with this
     Agreement and any instructions or investment guidelines that are not made part of this Agreement or any investment
     policy statement, this Agreement will control.

            18. Headings. The headings of the sections of this Agreement are for convenience of reference only and will
     not affect the meaning or operation of this Agreement. As used herein, references in the singular shall, as and if
     appropriate, include the plural.

          19. Counterparts. This Agreement may be executed in any number of counterparts, each of which will be
     deemed an original, but all of which together will constitute one and the same instrument.

           20. Severability. In the event that any provision of this Agreement is deemed to be void, voidable, illegal, or
     invalid for any reason, such provision will be of no force and effect only to the extent that it is so declared void,
     voidable, illegal, or invalid. All of the provisions of this Agreement not specifically found to be so deficient will
     remain in full force and effect.




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    IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be duly executed by their duly
    authorized officers to be effective as of the date first written above.

                                                                    MR. ALEJANDRO CANTO

                                                                    By:
                                                                    Name: Alejandro Canto
                                                                    Title: Manager

                                                                    BKCOIN MANAGEMENT LLC

                                                                    By: ________________________________
                                                                    Name: Carlos Betancourt
                                                                    Title: Manager




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                                                       EXHIBIT A

    Statement of Investment Objectives

            Dedicated to delivering consistent, uncorrelated absolute returns through our Long/Short and Statistical
            Arbitrage strategies with Bitcoin (BTC), Ethereum (ETH), XRP (Ripple), BitTorrent (BTT) long-bias.

            The Separately Managed Account for Mr. Alejandro Canto will offer the investor an opportunity to
            capitalize on inefficient and volatile market conditions as well as long-term capital growth. The account
            will ensure the non-BTC risks are minimized while capitalizing on the upside of the BTC as the investor is
            specifically looking for bitcoin exposure.

            Subject to the ‘Statement of Client Account Restrictions’ below, Manager shall have full discretion to make
            the Bitcoin (BTC), Ethereum (ETH), XRP (Ripple), BitTorrent (BTT) trades it deems appropriate in
            furtherance of maximizing Account returns, across as many exchanges as it deems appropriate.

    Statement of Client Account Restrictions
            Assets in Account to be maintained in Bitcoin (BTC), Ethereum (ETH), XRP (Ripple), BitTorrent (BTT)
            rather than converted to fiat money at the close of each trading day.




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                                                         EXHIBIT B

                                                      FEE SCHEDULE

    As compensation for managing the Account, Manager shall be paid as follows:

             1% Management Fee; 16% Performance Fee

    In addition, the following terms apply relevant to fees shall apply to the Performance Fee:

             With regards to the Performance Fee, the Manager shall be paid, in addition to the Management Fee
             hereunder an annual Performance Fee equal to 16% of the annual net profits generated on the account,
             provided that the annual net profits shall be reduced to the extent of any unrecovered balance remaining in
             the Loss Recovery Account (as defined herein), and immediately prior to giving effect to the adjustment
             required to the Loss Recovery Account for any annual net profits in that fiscal year.

            There shall be established for the Client a memorandum account (the “Loss Recovery Account”), the balance
            of which shall initially be zero. At the end of each fiscal year (or such other times as required below), the
            balance in each such Loss Recovery Account shall be adjusted as follows:

                      (i) in the event that there have been annual net losses with respect to the Client’s Account since the
                      last day of the immediately preceding fiscal year (or, if no calculation has yet been made with respect
                      to the Client’s Account, since its creation), an amount equal to such annual net losses shall be
                      credited to such Loss Recovery Account; and

                     (ii) in the event that there have been annual net profits with respect to such the Client’s Account
                     since the immediately preceding date as of which a calculation of an Incentive Allocation was made,
                     an amount equal to such annual net profits, before any Incentive Allocation to the Manager, shall
                     be debited from and reduce any unrecovered balance in such Loss Recovery Account, but shall not
                     reduce the balance below zero.




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                                                    EXHIBIT C

                               CERTIFICATION OF AUTHORIZED PERSONS

                               I certify, as the Manager of Belton Capital LLC that the
                          following persons are “Authorized Persons” under the Agreement:

                   NAME                                 TITLE                         SPECIMEN SIGNATURE

     Alejandro Canto                     Investor




                                                                    Alejandro Canto_____________________
                                                                          Name of Legal Entity (Please Print)

                                                                    By:         ^7^__________
                                                                                         Signature


                                                                                             Alejandro Canto__________________
                                                                              Name and Title (Please Print)


                                                                    Date:__________




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                                       EXHIBIT D

                              MANAGER’S CURRENT FORM ADV




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                                                         EXHIBIT E

                       CERTAIN RISKS ASSOCIATED WITH THE TRADING ACTIVITIES
                                 CONTEMPLATED IN THIS AGREEMENT

              There can be no assurance that the Manager will achieve the Investment Objectives. The trading activities
    contemplated herein by the Manager bear certain financial and other risks, including the risk of a loss of principal.
    The following risk factors do not purport to be complete explanation of the risks and potential conflicts of interest
    related to the trading activities contemplated herein. Client should consult its own professional advisors, before
    determining to enter into this Agreement.




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                                                           EXHIBIT F

                            CLIENT’S ANTI MONEY LAUNDERING REPRESENTATIONS

       1. All evidence of identity I have provided in connection with this Agreement is true and correct and all related
       information furnished is genuine and accurate.

       2.1 agree to provide such additional information as may be deemed necessary by the Manager from time to time
       for ongoing compliance with anti-money laundering programs.

       3.1 hereby represent and warrant that neither I, or in the case of an entity, neither it, nor any person controlling,
       controlled by, or under common control with it, nor any person having a beneficial interest in it, is an individual,
       organization, or entity on the List of Specifically Designated Nationals and Blocked Persons (the “OFAC Control
       List”) maintained by the US Office of Foreign Assets Control (“OFAC”). I further agree to notify the Manager of
       any change in information affecting these representations and covenants.

       4. I hereby represent and warrant that the amounts of cryptocurrency in the separately managed account
       contemplated herein, was not indirectly derived from activities that contravene U.S. federal or state laws or
       regulations and international laws and regulations, including anti-money laundering laws and regulations.

       5.1 hereby represent and warrant that I am not a Senior Foreign Political Figure, a member of a Senior Foreign
       Political Figure’s Immediate Family, and/or a Close Associate of a Senior Political Figure residing in a non-
       cooperative country or territory or a jurisdiction that has been designated by the US Treasury as warranting special
       measures due to money laundering concerns, nor am I a former Senior Foreign Political Figure residing in a non-
       cooperative country or territory or a jurisdiction that has been designated as warranting special measures due to
       money laundering concerns.

       6.1 hereby represent and warrant that I am not resident in, or organized or chartered under the laws of a jurisdiction
       that has been designated by the US Secretary of Treasury under Sections 311 and 312 of the Patriot Act as
       warranting special measures due to money laundering concerns.

       7.1 hereby represent and warrant that the entity I represent, if any, is not a Foreign Shell Bank as the term is defined
       in the Patriot Act.

       8.1 hereby represent and warrant that the cryptocurrency funds in the Account do not originate from, nor will they
       be routed through an account maintained at a Foreign Shell Bank, an “offshore bank,” or a bank organized or
       chartered under the laws of a jurisdiction deemed to be a non-cooperative country of territory (list available at
       wwwl .oecd.org/fatf).
     The undersigned does represent and certify under penalty of perjury, by executing this Client’s Anti-Money
     Laundering Representations, that the foregoing statements are true and correct.


     Executed this 16th day of March, 2020.

     CLIENT:

     Signature:_____
     Name: Alejandro Canto
     Title: Investor
     Entity: Mr. Alejandro Canto
     Jurisdiction of Organization: Lynnwood, WA




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                                     INVESTMENT MANAGEMENT AGREEMENT

           This Agreement is made this 07 day of December, 2020 (this “Agreement”), by and between BKCoin
     Management LLC, a Delaware limited liability company with principal place of business located at 38 E 37th Street
     #11, New York, New York 10016 (the “Manager”), a limited liability company, and Mr. Alejandro Canto, a
     Washington State resident with principal place of residence at 15030 16th Pl W Lynnwood, WA 98087 (the
     “Client”)(each a “Party” and collectively the “Parties”). The Parties agree as follows:

             1. Appointment. Client hereby appoints Manager as an investment manager to manage such of Client’s
     cryptocurrency (Bitcoin) assets, pursuant to the terms of this Agreement, as Client shall from time to time assign to
     it, the proceeds from the sale of such cryptocurrency assets, and the income attributable to such cryptocurrency
     assets (the “Account”). Client shall promptly notify Manager in writing of any increase or reduction in the amount
     of the Account’s assets subject to Manager’s investment direction.

            2. Authority of Manager. Manager is authorized to supervise and direct the investment and reinvestment of the
     cryptocurrency assets in the Account, subject to such limitations as are contained in the Guidelines described in
     Section 3 of this Agreement, as they may be from time to time amended, and subject to Client’s right to direct the
     investment of the Account, if so desired, by means of Instructions as described in Section 3 of this Agreement.
     Manager, as Client’s agent and attomey-in-fact with respect to the Account, when it deems appropriate and without
     prior consultation with Client, may: (a) buy, sell, exchange, convert and otherwise invest or trade in Bitcoin, at such
     times and in such manner as Manager determines; (b) place orders for the execution of such Bitcoin with or through
     such brokers, dealers or issuers as Manager may select, which brokers or dealers are entitled to receive
     compensation out of the Account for their services; and (c) execute any documentation as the Account’s agent and
     attomey-in-fact as Manager may deem necessary to facilitate any such investment or reinvestment. Manager, as
     Client’s agent and attomey-in-fact with respect to the Account, when it deems appropriate and without prior
     consultation with Client, may engage external legal counsel to review relevant trade-related documentation, and
     charge the Account for such costs. Manager may give a copy of this Agreement to any broker, dealer or other party
     to a transaction, as evidence of its authority to act on the Account’s behalf.

            The cryptocurrency assets of the Account shall be held in an account that is owned by Client. Notwithstanding
     the foregoing, given the unique nature of the cryptocurrency exchanges, and given that Manager has corporate level
     accounts across numerous exchanges that allows it to execute the Investment Objectives contemplated herein, Client
     hereby consents to such temporary movement out of the Account and into the corporate accounts of Client among
     the various exchanges for purposes of execution of the Investment Objectives as Manager deems appropriate. In
     furtherance of this movement of the cryptocurrency assets, Client hereby grants to Manager a power of attorney
     coupled with an interest, authorizing and permitting Manager to take Client’s cryptocurrency assets out of the
     Account, move the cryptocurrency assets into Manager’s corporate accounts at whichever exchange that Manager
     deems appropriate for execution of the Investment Objectives, to execute the trades in such accounts as the Manager
     deems appropriate, and finally to move the money back into the Account upon conclusion of the strategy employed
     by Manager. The Parties also hold open the possibility that Client’s cryptocurrency assets may, at some point in the
     future, be held by a custodian (the “Custodian”) which shall have custody of the Account, and which shall be
     directed by Client to follow the directions relating to trading that is conveyed to the Custodian by the Manager. In
     such cases, Client shall not change the Custodian without giving Manager reasonable advance written notice of its
     intention to do so, together with the name and other relevant information with respect to the new Custodian.
     Manager shall not be liable for any act or omission of any Custodian used.

            3. Guidelines and Instructions. Attached hereto as Exhibit A is a statement of the investment objectives of
     Client together with a statement of any and all specific investment restrictions applicable to the investment of the
     Account (the “Guidelines”). Client shall have the right at all times to modify the Guidelines or to give Manager
     instructions (“Instructions”) to buy, sell or retain any investment, but no modification of the Guidelines and no
     Instructions or modifications of Instructions shall be binding upon Manager unless Manager has received written
     notice of them from an Authorized Person (as defined in Section 5(d)). Manager shall have a reasonable period to
     bring the Account into compliance with any changes to the Guidelines. Manager shall be under no duty to make any
     investigation or inquiry as to any statement contained in any written Guidelines or Instruction given and, unless and
     until specifically advised otherwise, Manager may accept the same as conclusive evidence of the truth and accuracy
     of the statements contained therein. The Guidelines and all Instructions, unless they expressly provide otherwise,



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     shall continue to be effective until duly canceled by subsequent modifications duly communicated to Manager in
     writing.


            4. Fees. As full compensation for its services under this Agreement, Manager shall be paid quarterly a
     management fee (the “Management Fee”) equal to one-fourth of the annual rates specified in Exhibit B. based on the
     asset value of the Account as of the last day of each calendar quarter on which a Bitcoin exchange is open for
     trading (the “Valuation Date”), and before deductions for the Performance Fee below. The initial billing period of
     the Management Fee will begin when this Agreement is signed by Client and accepted by Manager, and initial
     funding has been received by the Custodian (the “Inception Date”). The initial fee will be pro-rated to cover the
     period from the Inception Date through the Valuation Date for that calendar quarter and will be based on the
     valuation as of that Valuation Date. Future quarterly fees will be calculated similarly in arrears. If Manager shall
     serve for less than the whole of any quarter, its compensation shall be determined as provided above on the basis of
     the value of the assets in the Account as of the end of the date of termination and shall be payable on a pro rata basis
     for the period of the quarter for which it served as Manager hereunder. In addition, Manager shall be entitled to a
     performance fee (the “Performance Fee”) for good performance, and the terms of the Performance Fee are
     substantially set forth within Exhibit B below. Other than as specifically indicated in this Agreement, the Manager
     shall not be required to pay any expenses in connection with the investment management services that are
     contemplated herein. Client shall direct the Custodian automatically to charge to the Account and pay directly to
     Manager all of Manager’s fees upon the Custodian’s receipt of an invoice from Manager.

         5. Representations and Warranties. Client hereby acknowledges, represents and warrants to, and agrees with
     Manager, as follows:

                  (a) Client Assets. Client is the sole owner of all cryptocurrency assets in the Account and (i) there are no
     restrictions on the transfer, sale or public distribution of any such assets and (ii) no option, lien, charge, security or
     encumbrance exists over such assets, except as disclosed to Manager in writing.

                  (b) Authority. The Client has full authority and power to engage Manager under the terms and
     conditions of this Agreement, and such engagement does not violate Client’s constituent documents, any other
     material agreement, order or judgment of any court or governmental authority, or any law applicable to Client.
     Client further represents that all investments permitted herein are within its power to enter into and have been duly
     authorized.

                  (c) Form ADV. Client acknowledges receipt of Part II of Manager’s Form ADV. Notwithstanding
     anything to the contrary herein, if Client did not receive a copy of the Form ADV at least forty-eight (48) hours prior
     to execution of this Agreement, Client shall have the right to terminate this Agreement without penalty within five
     (5) business days of the execution of this Agreement; provided, however, that Client shall be at risk for any market
     fluctuations in the Account up to the time of such termination. Note that in light of the Manager’s taking on the
     management of Client’s cryptocurrency assets pursuant to this Agreement, Manager’s Form ADV will likely have to
     be amended, and Client will be provided with the amended Form ADV within a reasonable time following its
     successful posting.

                  (d) Authorized Persons. Any individual whose signature is affixed to this Agreement on Client’s behalf
     has full authority and power to execute this Agreement on Client’s behalf. Client represents that the officer specified
     on the attached Certification of Authorized Persons (Exhibit C) is authorized to act for Client and to certify to
     Manager from time to time, by listing on, and delivering to Manager Exhibit C or a substantially similar form, those
     other persons who also are so authorized to act on Client’s behalf (“Authorized Persons”). The Client shall promptly
     notify Manager in writing of any event that could reasonably be anticipated to affect any such individual’s authority
     under this Agreement.

                   (e) Notice of Certain Events. Client will promptly notify Manager in writing of any occurrence that
     results, or threatens to result, in any representations by Client contained in this Agreement becoming inaccurate,
     false, misleading or incomplete.

            6. Non-Exclusive Agreement. Nothing in this Agreement shall be deemed to limit or restrict Manager’s right,
     or the right of any of its officers, directors, employees, or independent contractors, to engage in any other business



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     or to devote time and attention to the management or other aspects of any business, whether of a similar or
     dissimilar nature, or to render investment advisory services or services of any kind to any other corporation, firm,
     association, fund or individual. Client understands that Manager provides investment advisory services and other
     services to numerous other clients and accounts. Client also understands that Manager may give advice and take
     action with respect to any of its other clients or for its own account which may differ from the timing or nature of
     action taken by Manager with respect to the Account.

            Nothing in this Agreement shall impose upon Manager any obligation to purchase or sell or to recommend for
     purchase or sale, with respect to the Account, any security (including long and short positions) which Manager, or
     its affiliates, or its or their shareholders, directors, officers, employees, or independent contractor may purchase or
     sell for its or their own account(s) or for the account of any other client. Client acknowledges that Manager’s ability
     and that of its affiliates to effect or recommend transactions may be restricted by applicable regulatory requirements
     in the United States and elsewhere or its or their internal policies designed to comply with such requirements.
     Consequently, there may be periods when Manager may not initiate or recommend certain types of transactions in
     certain investments when Manager or its affiliates are performing services or when aggregated position limits have
     been reached, and Client will not be advised of that fact.

            7. Liability of Manager. Except as may otherwise be provided by law, Client specifically agrees that Manager
     shall not be liable for: (a) any loss that Client may suffer by reason of any investment decision made or other action
     taken or omitted in good faith and with that degree of care, skill, prudence and diligence under the circumstances
     then prevailing that a prudent person acting in a like capacity would use in the conduct of an enterprise of a like
     character and with like aims; (b) any loss, expense or other liability (including but not limited to attorneys’ fees)
     incurred by Client or Manager arising from or in connection with Manager’s compliance with the Guidelines or
     Instructions believed by Manager to be accurate; (c) any act or failure to act by any broker or other person with
     whom Manager or Client may deal in connection with the subject matter of this Agreement; or (d) any loss or failure
     or delay in performance of any obligation under this Agreement arising out of or caused, directly or indirectly, by
     circumstances beyond Manager’s reasonable control, including, without limitation, acts of God, earthquakes, fires,
     floods, wars, terrorism, civil or military disturbances, sabotage, epidemics, riots, interruptions, loss or malfunctions
     of utility, computer software or hardware, transportation or communication service, accidents, labor disputes, acts of
     civil or military authority, governmental actions and inability to obtain labor, material, equipment or transportation.

            8. Brokerage. Where Manager places orders, or directs the placement of orders, for the purchase or sale of
     Bitcoin for the Account, in selecting brokers or dealers to execute such orders, Manager is expressly authorized to
     consider, among other factors, the fact that a broker or dealer has furnished statistical, research or other information
     or services which enhance Manager’s investment research and portfolio management capability generally. Manager
     may negotiate with and assign to a broker a commission which may exceed the commission which another broker
     would have charged for effecting the transaction if Manager determines in good faith that the amount of commission
     charged was reasonable in relation to the value of brokerage and research services provided by such broker, viewed
     in terms either of the Account or Manager’s overall responsibilities to Manager’s discretionary accounts. With
     respect to the allocation of trades among the accounts it is managing, Manager shall not favor any account over any
     other and purchase or sale orders executed contemporaneously shall be allocated in a manner it deems equitable
     among the accounts involved.

           In no event shall Manager be obligated to effect or place an order for any transaction for Client which
     Manager believes would violate any applicable state or federal law, rule, or regulation, or of the regulations of any
     regulatory or self-regulatory body to which Manager or any of its affiliates is subject to at the time of the proposed
     transaction.

            9. Confidential Relationship. Each Party agrees that all non-public confidential information concerning the
     other Party which may become available to such party in connection with services, transactions or relationships
     contemplated in this Agreement shall at all times be treated in strictest confidence and shall not be disclosed to third
     persons except as (a) may be required by law or regulatory authority, including but not limited to any subpoena,
     administrative, regulatory or judicial demand or court order, (b) as otherwise set forth in this Agreement, or (c) upon
     the prior written approval of the other party to this Agreement. Client authorizes Manager (i) to include Client’s
     name in a representative or sample client list prepared by Manager, provided Manager shall not disclose Client
     contact information or any information about Client’s holdings, and (ii) to use Manager’s investment experience
     with respect to the Account, or the Account’s performance, in composite performance presentations, marketing



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     materials, attribution analyses, statistical compilations, or other similar compilations or presentations, provided such
     use does not disclose Client’s identity except to the extent permitted by Client.

           10. Reports. Manager shall send to Client a written report of the Account as of the Valuation Date of each
    calendar quarter. Such reports shall be submitted within a reasonable period following such Valuation Date. For the
    purposes of all reports made by Manager to Client, Bitcoin will be valued denominated in United States dollars,
    unless otherwise agreed by Manager and Client. Client shall examine promptly each such report and any other report
    provided by Manager. To the extent permissible under applicable law, upon the expiration of the sixty (60) day
    period immediately following the date of such report, or the termination of this Agreement as provided herein, if
    earlier, Manager shall be forever released and discharged from all liability and accountability to anyone with respect
    to each such report, including, without limitation, all acts and omissions of Manager shown or reflected in each such
    report, except with respect to any acts or omissions as to which Client shall have filed written objections with
    Manager within such sixty (60) day period. Nothing herein shall impair the right of Manager to a judicial settlement
    of any report rendered by it.

           11. Valuation. In computing the asset value of the Accounts, Manager shall use its best discretion to provide
    Client an accurate estimation of the fair market value of the Accounts at a given point in time. The method selected
    will factor in all relevant information, including but not limited to: bid-ask spread of the relevant cryptocurrency on
    various exchanges, the official closing price, if a market event occurs that calls into question the reliability of current
    market quotations. Whichever methodology is selected shall be explained to Client in a manner that may be easily
    understood by Client.

           12. Acknowledgment of Investment Risk. Notwithstanding any provision herein to the contrary, Client
    understands that the value of investments made for the Account may go down as well as up and is not guaranteed. In
    addition, Client has reviewed the risk factors at Exhibit E below. Client is fully aware and understands the risks
    associated with Manager’s ctyptocurrency trading activities pursuant to this Agreement, and nevertheless wishes to
    engage Manager to provide such investment management services under the terms and conditions set forth herein.
    Client agrees that Manager has not made and is not making any guarantees, including without limitation a guarantee
    as to any specific level of performance of the Account. Client further understands and acknowledges that investment
    decisions made on behalf of Client’s Account by Manager are subject to various market, currency, economic, and
    business risks as well as the risk that those investment decisions will not always be profitable. Client acknowledges
    that past performance results achieved by accounts supervised or managed by Manager are not indicative of the
    future performance of the Account. Client understands that the Bitcoin in the Account is not guaranteed by Manager
    or any affiliate, is not insured by the Federal Deposit Insurance Corporation (“FDIC”) or any other government
    agency, and are subject to investment risk, including possible loss of principal amounts invested.

           13. Termination: Survival. This Agreement may be terminated by either party upon thirty (30) days’ written
    notice to the other party. Such termination will not, however, affect the liabilities or obligations of the parties under
    this Agreement arising from transactions initiated prior to such termination. Sections 4. 7, 9,10.17. and 18 shall
    survive the termination of this Agreement. Upon any termination of this Agreement, Manager shall have no further
    obligations hereunder, provided that: (a) any liability under this Agreement of one party to the other shall survive
    and remain in full force and effect, notwithstanding such termination, with respect to any claim or matter on which
    either of the parties has given the other written notice prior to such termination (except that Manager may render to
    Client a statement of fees due Manager through the date of termination after such date), until such liability has been
    finally settled; (b) Manager retains the right to complete any transactions open as of the termination date and to
    retain amounts in the Account sufficient to effect such completion; and (c) Manager shall be entitled to its fees and
    expenses, pro rated to the date of termination. Upon termination, it shall be Client’s exclusive responsibility to issue
    instructions in writing regarding any assets in the Account.

          14. Assignment. This Agreement may not be assigned (within the meaning of the Investment Advisers Act of
    1940, as amended), in whole or in part, by Manager without the prior written consent of Client. Subject to the
    preceding sentence, Manager may delegate all or part of its duties under this Agreement to any affiliate.

           15. Communications. All reports and other communications required hereunder to be in writing shall be
    delivered in person or sent by first-class mail postage prepaid, overnight courier, or confirmed facsimile with
    original to follow.




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                 If to Client:

                 Mr. Alejandro Canto
                 15030 16th Pl W Lynnwood, WA 98087

                 Attention: Alejandro Canto

                 If to Manager:

                 BKCoin Management LLC
                 38 £37* Street #11
                 New York, New York 10016

                 Attention: Mr. Kevin Kang, Founding Principal/Manager

                 Attention: Mr. Carlos Betancourt, Founding Principal/Manager

           Either Party to this Agreement may, by written notice given at any time, designate a different address for the
     receipt of reports and other communications due hereunder.

            16. Governing Law: Venue. This Agreement shall be governed by and construed and enforced in accordance
     with the laws of the United States and with the laws of the State of Delaware, without giving effect to the choice of
     law or conflict of law provisions thereof. The parties hereby consent to jurisdiction and venue in the federal and
     state courts located in New York County of the State of New York.

            17. Entire Agreement: Modification. This Agreement along with all exhibits attached hereto: (a) sets forth the
     entire understanding of the parties with respect to the subject matter hereof; (b) supersedes any and all previous
     agreements, understandings and communications, oral or written, regarding this subject matter; and (c) may not be
     modified, amended, or waived except by a specific written instrument duly executed by the party against whom such
     modification, amendment, or waiver is sought to be enforced. In the event of any conflict or inconsistency with this
     Agreement and any instructions or investment guidelines that are not made part of this Agreement or any investment
     policy statement, this Agreement will control.

            18. Headings. The headings of the sections of this Agreement are for convenience of reference only and will
     not affect the meaning or operation of this Agreement. As used herein, references in the singular shall, as and if
     appropriate, include the plural.

          19. Counterparts. This Agreement may be executed in any number of counterparts, each of which will be
     deemed an original, but all of which together will constitute one and the same instrument.

           20. Severability. In the event that any provision of this Agreement is deemed to be void, voidable, illegal, or
     invalid for any reason, such provision will be of no force and effect only to the extent that it is so declared void,
     voidable, illegal, or invalid. All of the provisions of this Agreement not specifically found to be so deficient will
     remain in full force and effect.




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     IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be duly executed by their duly
     authorized officers to be effective as of the date first written above.

                                                                     MR. ALEJAND

                                                                     By:
                                                                     Name: Alei
                                                                     Titl«   anager

                                                                     BKCOIN MANAGEMENT LLC.
                                                                     By
                                                                                                           OB
                                                                     Name: Carlos Betancourt
                                                                     Title: Manager




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                                                        EXHIBIT A

     Statement of Investment Objectives

             Dedicated to delivering consistent, uncorrelated absolute returns through our Long/Short and Statistical
             Arbitrage strategies with Bitcoin (BTC) and Ethereum (ETH) long-bias.

             The Separately Managed Account for Mr. Alejandro Canto will offer the investor an opportunity to
             capitalize on inefficient and volatile market conditions as well as long-term capital growth. The account
             will ensure the non-BTC and non-ETH risks are minimized while capitalizing on the upside of the BTC and
             ETH as the investor is specifically looking for bitcoin and Ethereum exposure.

             Subject to the ‘Statement of Client Account Restrictions’ below. Manager shall have full discretion to make
             the Bitcoin trades it deems appropriate in furtherance of maximizing Account returns, across as many
             exchanges as it deems appropriate.

     Statement of Client Account Restrictions
             Assets in Account to be maintained in Bitcoin, rather than converted to fiat money at the close of each
             trading day.




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                                                          EXHIBIT B

                                                      FEE SCHEDULE

     As compensation for managing the Account, Manager shall be paid as follows:

              0% Management Fee;22.5% Performance Fee

     In addition, the following terms apply relevant to fees shall apply to the Performance Fee:

             With regards to the Performance Fee, the Manager shall be paid, in addition to the Management Fee
             hereunder an annual Performance Fee equal to 22.5% of the annual net profits generated on the account,
             provided that the annual net profits shall be reduced to the extent of any unrecovered balance remaining in
             the Loss Recovery Account (as defined herein), and immediately prior to giving effect to the adjustment
             required to the Loss Recovery Account for any annual net profits in that fiscal year.

              There shall be established for the Client a memorandum account (the “Loss Recovery Account”), the balance
              of which shall initially be zero. At the end of each fiscal year (or such other times as required below), the
              balance in each such Loss Recovery Account shall be adjusted as follows:

                       (i) in the event that there have been annual net losses with respect to the Client’s Account since the
                       last day of the immediately preceding fiscal year (or, if no calculation has yet been made with respect
                       to the Client’s Account, since its creation), an amount equal to such annual net losses shall be
                       credited to such Loss Recovery Account; and

                       (ii) in the event that there have been annual net profits with respect to such the Client’s Account
                       since the immediately preceding date as of which a calculation of an Incentive Allocation was made,
                       an amount equal to such annual net profits, before any Incentive Allocation to the Manager, shall
                       be debited from and reduce any unrecovered balance in such Loss Recovery Account, but shall not
                       reduce the balance below zero.




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                                                 EXHIBIT C

                            CERTIFICATION OF AUTHORIZED PERSONS

                            I certify, as the Manager of Alejandro Canto SMA that the
                       following persons are “Authorized Persons” under the Agreement:

                   NAME                              TITLE                        SPECIMEN SIGNATURE

     Alejandro Canto                  Investor




                                                                 Alejandro Canto “SMA”




                                                                                       Alejandro Canto________________
                                                                           Name and Title (Please Print)

                                                                    ,   12/07/2020
                                                                        Date:_________




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                                       EXHIBIT D

                              MANAGER’S CURRENT FORM ADV




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                                                         EXHIBIT E

                       CERTAIN RISKS ASSOCIATED WITH THE TRADING ACTIVITIES
                                 CONTEMPLATED IN THIS AGREEMENT

              There can be no assurance that the Manager will achieve the Investment Objectives. The trading activities
    contemplated herein by the Manager bear certain financial and other risks, including the risk of a loss of principal.
    The following risk factors do not purport to be complete explanation of the risks and potential conflicts of interest
    related to the trading activities contemplated herein. Client should consult its own professional advisors, before
    determining to enter into this Agreement.


                                                 [insert relevant riskfactors]




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                                                           EXHIBIT F

                            CLIENT’S ANTI MONEY LAUNDERING REPRESENTATIONS

       1. All evidence of identity I have provided in connection with this Agreement is true and correct and all related
       information furnished is genuine and accurate.

       2.1 agree to provide such additional information as may be deemed necessary by the Manager from time to time
       for ongoing compliance with anti-money laundering programs.

       3.1 hereby represent and warrant that neither I, or in the case of an entity, neither it, nor any person controlling,
       controlled by, or under common control with it, nor any person having a beneficial interest in it, is an individual,
       organization, or entity on the List of Specifically Designated Nationals and Blocked Persons (the “OFAC Control
       List”) maintained by the US Office of Foreign Assets Control (“OFAC”). I further agree to notify the Manager of
       any change in information affecting these representations and covenants.

       4. I hereby represent and warrant that the amounts of cryptocurrency in the separately managed account
       contemplated herein, was not indirectly derived from activities that contravene U.S. federal or state laws or
       regulations and international laws and regulations, including anti-money laundering laws and regulations.

       5. I hereby represent and warrant that I am not a Senior Foreign Political Figure, a member of a Senior Foreign
       Political Figure’s Immediate Family, and/or a Close Associate of a Senior Political Figure residing in a non-
       cooperative country or territory or a jurisdiction that has been designated by the US Treasury as warranting special
       measures due to money laundering concerns, nor am I a former Senior Foreign Political Figure residing in a non-
       cooperative country or territory or a jurisdiction that has been designated as warranting special measures due to
       money laundering concerns.

       6.1 hereby represent and warrant that I am not resident in, or organized or chartered under the laws of a jurisdiction
       that has been designated by the US Secretary of Treasury under Sections 311 and 312 of the Patriot Act as
       warranting special measures due to money laundering concerns.

       7.1 hereby represent and warrant that the entity 1 represent, if any, is not a Foreign Shell Bank as the term is defined
       in the Patriot Act.

       8.1 hereby represent and warrant that the cryptocurrency funds in the Account do not originate from, nor will they
       be routed through an account maintained at a Foreign Shell Bank, an “offshore bank,” or a bank organized or
       chartered under the laws of a jurisdiction deemed to be a non-cooperative country of territory (list available at
       wwwl .oecd.org/fatf).
     The undersigned does represent and certify under penalty of perjury, by executing this Client’s Anti-Money
     Laundering Representations, that the foregoing statements are true and correct.


     Executed this 7,h day of December, 2020.

     CLIENT

     Signature:
     Name: Alejandfo
     Title: Investor
     Entity: n/a
     Jurisdiction of Organization: USA




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      COMPOSITE
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                                MASTER DIGITAL CURRENCY LOAN AGREEMENT

           This Master Digital Currency Loan Agreement ('"Agreement”) is made on this 7111 day of
           October, 2021 (“Effective Date”) by and between BKCoin Management LLC, (“BKCoin” or
           “Lender”), a limited liability company organized and existing under the laws of Delaware and
           Alejandro Canto (“Borrower”) an individual with primary address at
           4531 sw 15th st, Coral Gables Fl 33134


                                                             RECITALS

           WHEREAS, subject to the terms and conditions of this Agreement, Borrower may, from time to
           time, seek to initiate a transaction pursuant to which Lender will lend Digital Currency to
           Borrower and Borrower will return such Digital Currency to Lender upon the termination of the
           Loan.

           Now, therefore, in consideration of the foregoing and other good and valuable consideration, the
           receipt and sufficiency of which hereby acknowledged, the Borrower and the Lender hereby
           agree as follows:

           I.            Definitions

           '"Airdrop” means a distribution of a new token or tokens resulting from the ownership of a
           separate token. For the purposes of Section V, an "Applicable Airdrop” is an Airdrop for which
           the distribution of new tokens can be definitively calculated according to its distribution method,
           such as a pro rata distribution based on the amount of the relevant Digital Currency held at a
           specified time. A "Non-Applicable Airdrop” is an Airdrop for which the distribution of new
           tokens cannot be definitively calculated, such as a random distribution.

           "Applicable Law” means (regardless ofjurisdiction) any applicable (i) federal, national, state and
           local laws, ordinances, regulations, orders, statutory instrument, rules, treaties, codes of practice,
           guidance notes, policy statements, customary laws, decrees, injunctions, or judgments and any
           (ii) ruling, declaration, regulation, requirement, request or interpretation issued by any (or any
           quasi-) regulatory, judicial, administrative or governmental body or person;

           "Authorized Agent” has the meaning set forth in Exhibit A.

           "Borrow Fee” means the fee paid by Borrower to the Lender for the Loan.

           "Borrower” means Alejandro Canto.

           "Business Day” means a day on which BKCoin Management LLC is open for business. BKCoin
           Management LLC follows the New York Stock Exchange calendar of holidays.
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           “Callable Option'' means the Borrower and Lender each have the option to redeliver or recall an
           Open Deal Loan at any time during the term of the deal.

           “Confirmation Protocol" means the requirement that the Transfer of a Digital Currency, may not
           be deemed settled and completed until (i) the transaction has been recorded in a block and five (5)
           consecutive subsequent blocks referring back to such block (meaning six (6) blocks in total) have
           been added to the applicable blockchain; or (ii) the transaction has met a different protocol for a
           specific Digital Currency agreed to by the parties and added hereto as Exhibit C.
           “Digital Currency" means Bitcoin (BTC), Bitcoin Cash (BCH), Ether (ETH), Ether Classic
           (ETC), or Litecoin (LTC), any Resulting Currency and any digital currency that the
           Borrower and Lender agree upon.

           “Digital Currency Address" means an identifier of 26-34 alphanumeric characters that
           represents a possible destination for a Transfer of Digital Currency.

            “Dollars" and “$" mean lawful money of the United States of America.

            “Fees" mean the Borrow Fee and the Late Fee.

             “Fork" means a permanent divergence in the relevant Digital Currency block chain, that
            commonly occurs when non-upgraded nodes can’t validate blocks created by upgraded nodes
            that follow newer consensus rules.

             “Governmental Authority" means the government of any other nation, or of any political
            subdivision thereof, whether state or local, and any agency, authority, instrumentality, regulatory
            body, court or other entity exercising executive, legislativejudicial, taxing, regulatory or
            administrative powers or functions of or pertaining to government.

            “Hard Fork" has the meaning set forth in Section (h).

            “Late Fee" has the meaning set forth in Section 111(b).

            “Lender" means BKCoin Management LLC

            “Loan" means a request for a loan or an actual loan of Digital Currency made pursuant to and
            subject to this Agreement.

            “Loan Documents" shall mean this Agreement, all Lending Requests and all exhibits and
            schedules hereto.

            “Loan Effective Date" means the date upon which a Loan begins.
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            “Maturity Date" means the date upon which a Loan is terminated.


            “Open Dear means a Loan without a Maturity Date where Borrower may redeliver the Digital
            Currency and Lender to may recall the Digital Currency at any time, subject to this Agreement.

            “Resulting Currency" means a Digital Currency issued as a result of a Hard Fork.


            “Taxes" means all present or future taxes, levies, imposts, duties, deductions, withholdings,
            assessments, fees or other charges imposed by any Governmental Authority, including any
            interest, additions to Tax or penalties applicable thereto.

            “Term” shall have the meaning set forth in Section XX.


            “Term DeaF means a Loan with a pre-determined Maturity Date, where only Borrower can
            return the Digital Currency prior to maturity.

            “Transfer" shall mean, as applicable, the delivery of Digital Currency by Lender or the
            redelivery of Digital Currency by Borrower hereunder.

                II.              General Operation.

                (a)           Loans of Digital Currency

            Subject to the terms and conditions hereof, Borrower may, in its sole and absolute discretion,
            request the Lender to Loan to Borrower a specified amount of Digital Currency, and Lender
            may, in its sole and absolute discretion, extend such Loan or decline to extend such Loan.

                (b)           Loan Procedure

            From time to time during the Term of this Agreement, on a Business Day (the "Request Day") an
            Authorized Agent of Borrower may by email directed to trading@bkcoincapital.com , request
            from Lender a Loan of a specific amount of Digital Currency (a ‘"Lending Request”). Lender
            shall by email directed to alejandro@mecbd.com, inform Borrower whether Lender agrees to
            make such a Loan. Once made, Lending Requests may not be withdrawn by Borrower and a
            Lending Request shall be deemed rejected unless accepted by Lender as set forth above within
            two (2) Business Days of the Request Date.

            As part of its Lending Request, Borrower shall provide the following information:

                      (i)               The type of Digital Currency requested;
                      (ii)              the amount of Digital Currency requested;
                      (iii)             whether the Loan is a Term Deal or an Open Deal;
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                      (iv)      the Loan Effective Date, which shall be no less than five (5) Business Days from
                                the date of the Lending Request; and
                      (v)              the Maturity Date (if a Term Deal).

            If Lender agrees to make a Loan, the Lender shall commence transmission to the Borrower’s
            Digital Currency Address the amount of Digital Currency set forth in the Lending Request (the
            “Borrowed Amount”) on or before 5:00 pm New York Time on the Request Day.

            Specifics of each Loan shall be memorialized using the Loan Term Sheet attached as Exhibit B.

                (c)          Callable Option

            Applicable to Open Deal Loans, Lender may at any time from 9:00 am until 5:00 pm New York
            time on a Business Day (the “Recall Request Day”) exercise the Callable Option and recall all or
            any portion of a Digital Currency loaned to Borrower (the “Recall Amount”). Borrower will then
            have until 5:00 pm New York time on the “Recall Delivery Dav”, as agreed to and defined in the
            relevant Loan Term Sheet, to deliver the Recall Amount. In the event a Market Disruption Event
            is in effect on any Recall Delivery Day, the Recall Delivery Day will be extended fifteen (15)
            days. If a Market Disruption Event is still in effect at the end of such fifteen (15) day period,
            Borrower shall immediately transfer available funds an amount in Dollars equal to the average
            price on the Liquidity Exchanges (measured at 4:00 p.m. New York time) of the borrowed
            Digital Currency during the fifteen (15) Calendar Days including and prior to the Market
            Disruption Event in the borrowed Digital Currency (the “Market Disruption Soot Rate”). For
            purposes of this Agreement, “Market Disruption Event” means any event, circumstance,
            occurrence or condition that is beyond Borrower’s control that restricts Borrower from
            delivering the Recall Amount in the normal course by exercising commercially reasonable
            efforts, including, for example, 51% attacks in which any Liquidity Exchange limits transfers,
            mining of empty blocks, no blocks being produced at all, or any Liquidity Exchange being
            censored by miners.

            Borrower may at any time from 9:00 am until 5:00 pm New York time on a Business Day (the
            “Redeliverv Day”) exercise the Callable Option and deliver all or any portion of any Digital
            Currency loaned to Borrower.

                (d)          Termination of Loan

            Loans will terminate:

                      (i)              If a Term Deal, upon redelivery by Borrower of the Digital Currency at the
                                Maturity Date or sooner;

                      (ii)            If an Open Deal, upon redelivery by Borrower of the Digital Currency once the
                                Borrower or Lender exercises the Callable Option; or
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                      (iii)              At the end of the TermXX.

                (e)           Redelivery of Borrowed Digital Currency

           Upon termination of a Loan according to this Agreement, the Borrower shall commence
           redelivery of the borrowed Digital Currency on or before 5:00 pm New York time of the
           applicable Business Day (i.e., the Maturity Dale, the Recall Delivery Day, or the Redelivery
           Day).

                (f)           Redeliverv in an Illiquid Market

            If the market in the borrowed Digital Currency becomes Illiquid (as defined below), Borrower
            may repay the Loan in Dollars at the Illiquid Market Spot Rate (as defined below). The market
            in the borrowed Digital Currency is “Illiquid” if the seven-day average daily trading volume
            across each of the top three exchanges reporting prices for the borrowed Digital Currency (as
            measured by the 30-day average daily trading volume on the Loan Date) (the such exchanges,
            the “Liquidity Exchanges”) has decreased by 90% from the date of the Loan Term Sheet to the
            Maturity Date, or if the borrowed Digital Currency ceases to be listed on any of the Liquidity
            Exchanges. If the market is Illiquid, Borrower shall repay on the Maturity Date or on the Recall
            Delivery Date an amount in Dollars equal to the average price on the Liquidity Exchanges
            (measured at 4:00 p.m. New York time) of the borrowed Digital Currency during the fifteen
            (15) Calendar Days including and prior to the determination of an Illiquid market in the
            borrowed Digital Currency (the “Illiquid Market Spot Rate”). Notwithstanding the forgoing or
            anything in this Agreement to the contrary, Borrower may always satisfy its repayment or
            delivery obligations in this Agreement by repaying or delivering the applicable amount of
            borrowed Digital Currency.

                (g)           Acts bv Governmental Authorities and Changes in Applicable Laws.
           If because of enforcement actions by Governmental Authorities of competent jurisdiction or
           changes in Applicable Laws (“Government Restrictions”), a party’s ability to transfer or own a
           Digital Currency that has been the subject of a Loan or Loans is eliminated, materially impaired or
           declared illegal:
                      (1) if possible under the Government Restrictions, including, without limitation, during
                         any notice or grace period, Borrower shall repay to the Lender any outstanding balance
                         of such Digital Currency and any accrued but unpaid Fees, such repayment to be made
                          in the Digital Currency;
                      (2) if return is not possible under the Government Restrictions, Borrower shall repay
                         Lender an amount in Dollars equal to the volume-weighted average price on the
                         Liquidity Exchanges (measured at 4 p.m. New York time) of the borrowed Digital
                         Currency during the 30 day period prior to the effective date of the Government
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                     Restrictions.
              III.         Borrow Fees and Transaction Fees.

              (a)      Borrow Fee Calculation

          When a Loan is executed, the Borrower will be responsible to pay the Borrow Fee as agreed to in
          the relevant Loan Term Sheet, the Borrow Fee shall be annualized but calculated daily and is
          subject to change if agreed to by Borrower and Lender. The Borrow Fee shall be payable, unless
          otherwise agreed by the Borrower and Lender, in the applicable Digital Currency.

          Lender shall calculate any Borrow Fees owed on a daily basis and provide Borrower with the
          calculation upon request.

              (b)      Late Fee

          For each Calendar Day in excess of the Maturity Date or the Recall Delivery Day (whichever is
          applicable) in which Borrower has not returned any Digital Currency, Borrower shall incur an
          additional fee (the “Late Fee”) of 5% (annualized, calculated daily) of the notional amount of the
          Loan in addition to the Borrow Fee.

              (c)      Payment of Borrow Fees and Late Fees

          An invoice for Borrow Fees and any Late Fees (the “Invoice Amount”) shall be sent out on the
          first Business Day of the month and shall include any Borrow Fees incurred from the previous
          month. Borrower shall have up to five Business Days to submit payment for the invoice (the
          “Invoice Due Date”). Fees unpaid by the Invoice Due Date shall also become subject to the
          Late Fee commencing the day after the Invoice Due Date.

              (d)     Application of Payments

         Borrower shall, at the time of making each payment under this Agreement, specify to the Lender
         the Loan to which such payment is to be applied. In the event that the Borrower fails to so specify,
         or if an Event of Default has occurred and is continuing, the Lender may apply the payment in such
         manner as it may determine to be appropriate in its sole discretion.

              (e)     Application of Insufficient Payments

         If at any time insufficient amounts are received by the Lender to pay fully all amounts of principal,
         Fees, and other amounts then due and payable hereunder, such Digital Currency payment received
         shall be applied (i) first, to pay Fees then due and payable hereunder, (ii) then, to pay principal then
         due and payable hereunder, and (iii) then, to pay other amounts then due and payable under this
         Agreement. In no event shall payments by Borrower in one Digital Currency be applied by Lender
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         to pay off obligations outstanding with respect to a Loan in another Digital Currency.

              (f)       Non-Business Davs

         If the due date of any payment under this Agreement would otherwise fall on a day that is not a
         Business Day, such date shall be extended to the next succeeding Business Day and, in the case of
         any payment accruing Fees such Fees shall be payable for the period of such extension.

              (g)       Computations

         Fees shall be computed on the basis of a year of 360 days for the actual number of days (including
         the first day but excluding the last day) occurring in the period for which payable. For purposes of
         calculating Fees, Digital Currencies shall be deemed to have been Transferred by one party to the
         other when the applicable Confirmation Protocol for the relevant Digital Currency has been
         completed. If the requirements of the Confirmation Protocol are not met by 5pm New York Time,
         the Transfer shall be deemed to have been made on the following Business Day. Calculation of
         Fees shall be based on the date when the relevant Transfer is deemed to have occurred.

              (h)       Taxes

                    (1) All Taxes assessed on Borrower with respect to the Borrowed Amount shall be paid
                        by Borrower.
                    (2) No Loans made under this Agreement shall be treated as a taxable disposition under
                        Internal Revenue Code section 1001.

              IV.      Collateral Requirements

              (a)       Collateral

           Borrower shall provide as collateral an amount of U.S. Dollars or Digital Currency to be determined
           and agreed upon by the Borrower and Lender (“Collateral”) and memorialized using the Loan Term
           Sheet attached as Exhibit B. The Collateral will be defined as a percentage of the value of the
           borrowed Digital Currency, such value determined by a spot rate agreed upon in the Loan Term
           Sheet. Lender shall be entitled to use the Collateral to conduct its digital currency lending and
           borrowing business, including transferring the Collateral to other non-Galaxy bank accounts.

              (b)       Margin Calls

         If during the term of a Loan the value of the borrowed Digital Currency increases by the Margin
         Call Rate indicated on the Loan Term Sheet as measured by the spot rate published on Coinbase
         Pro, or if borrowed Digital Currency is not listed on Coinbase Pro, then the spot rate published on
         Kraken (such rate, the “Margin Call Spot Rate”) over the spot rate indicated in the Loan Term
         Sheet, or the prior Margin Call Spot Rate, as applicable, Lender shall have the right to require
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         Borrower to contribute additional Collateral so that the Collateral is at least the same percentage
         indicated in the Loan Term Sheet relative to the value of the borrowed Digital Currency at the
         Margin Call Spot Rate (the “Additional Collateral”). If during the term of a Loan the value of the
         borrowed Digital Currency decreases below the original borrowed amount, Borrower shall have
         the right to require Lender to return a portion of Collateral equivalent to such decrease (the
         “Collateral Return Amount”).

         If Lender requires Borrower to contribute Additional Collateral, or if Borrower requires Lender to
         return Collateral, such requiring party shall send an email notification (the “First Notification”) to
         the other party on a Business Day at the email address indicated in Section XIII that sets forth: (i)
         the Margin Call Spot Rate and (ii) the amount of Additional Collateral required based on the
         Margin Call Spot Rate, or the Collateral Return Amount, as applicable. Borrower or Lender, as
         applicable, shall have twelve (12) hours on a Business Day from the time it receives such First
         Notification to (x) respond and send payment to the requesting party , or (y) respond that the spot
         rate as indicated on Coinbase Pro or Kraken, as applicable, has changed sufficiently such that the
         transfer of Additional Collateral or the Collateral Return Amount, as applicable, is no longer
         required. If the requesting party agrees by email that the response according to (y) above is correct
         then no other action is required.

         If Borrower or Lender, as applicable, fails to respond to the First Notification within twelve (12)
         hours on Business Days, and the spot rate of the borrowed Digital Currency is still at least at the
         Margin Call Spot Rate or below the original borrowed amount, as applicable, Lender or Borrower,
         as applicable, may send a second email notification (the “Second Notification”) repeating the
         information in (i) and (ii) in the paragraph above. Borrower or Lender, as applicable, shall have six
         (6) hours on Business Days from the time the requesting party sends the Second Notification to
         respond according to (x) or (y) above. Failure to respond to either the First Notification or the
         Second Notification, shall give the requesting party the option to declare an Event of Default under
         Section VII below.

              (c)     Default or Failure to Return Loan or Collateral

         In the event that Borrower does not return the Loan upon Termination or in the event of default
         pursuant to Sections VII of this Agreement, Lender shall transfer that portion of the Collateral from
         the Collateral Account to Lender’s operating account necessary for the payment of any liability or
         obligation or indebtedness created by this Agreement, including, but not limited to using the
         Collateral to purchase the relevant Digital Currency to replenish Lender’s supply of the relevant
         Digital Currency.

              (d)     Return of Collateral

         Upon Borrower’s redelivery of the Loan and acceptance of Lender of the Borrowed Digital
         Currency into Lender’s wallet address as provided herein, with such delivery being confirmed on
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         the relevant Digital Currency blockchain ten times. Lender shall initiate the return of Collateral to a
         bank account in the name of Borrower. If Borrower provided Digital Currency as collateral,
         Lender’s return of any Digital Currency posted as collateral must satisfy BKCoin’s Bank Secrecy
         Act and Anti-money Laundering obligations.

              V.     Hard Fork


              (a)     Notification

          In the event of a Hard Fork or an Airdrop, Lender shall provide email notification to Borrower.

              (b)     No Immediate Termination of Loans Due to Hard Fork

          In the event of a Hard Fork or an Airdrop, any outstanding Loans will not be immediately
          terminated.

              (c)     Redelivery of Borrowed Digital Currency

          Lender will receive the benefit of any incremental tokens generated as a result of a Fork in the
          relevant Digital Currency protocol or an Applicable Airdrop that results in a second token (the
          “New Token”) being created. For purposes of this agreement, a Hard Fork will have been
          deemed to have occurred if any two of the following four conditions are met:
              • Hash Power: the average hash power mining the New Token on the 30th day following
                 the occurrence of the Hard Fork or Applicable Airdrop (calculated as a 30-day average on
                 such date) is at least 20% of the hash power mining the relevant Digital Currency on the
                 day preceding the Hard Fork or Applicable Airdrop (calculated as a 3-day average of the
                 3 days preceding the hard fork). The source for the relevant Digital Currency hash power
                 will be blockchain.info (or, if blockchain.info does not provide the required information,
                 bitinfocharts.com, and if neither provides the required information, the parties shall
                 discuss in good faith to mutually agree upon another data source) and the source for the
                 hash power of the New Token will be bitinfocharts.com (or, ifbitinfocharts.com does not
                 provide the required information, the parties shall discuss in good faith to mutually agree
                 upon another data source prior to the 30-day mark of the creation of the New Token).
              • Market Capitalization: the average market capitalization of the New Token (defined as
                 the total value of all New Tokens) on the 30th day following the occurrence of the Hard
                 Fork or Applicable Airdrop (calculated as a 30-day average on such date) is at least 20%
                 of the average market capitalization of the relevant Digital Currency (defined as the total
                 value of the relevant Digital Currency) (calculated as a 30-day average on such date).
                 The source for the relevant Digital Currency market capitalization will be blockchain.info
                 (or, if blockchain.info does not provide the required information, bitinfocharts.com, and
                 if neither provides the required information, the parties shall discuss in good faith to
                 mutually agree upon another data source) and the source for the market capitalization of
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                      the New Token will be (or, ifbitinfocharts.com does not provide the required
                      information, the parties shall discuss in good faith to mutually agree upon another data
                      source prior to the 30-day mark of the creation of the New Token).
                 •    24-Hour Trading Volume', the average 24-hour trading volume of the New Token on the
                      30th day following the occurrence of the Hard Fork or Applicable Airdrop (calculated as
                      a 30-day average on such date) is at least 20% of the average 24-hour trading volume of
                      the relevant Digital Currency (calculated as a 30-day average on such date). The source
                      for the relevant Digital Currency 24-hour trading volume will be blockchain.info (or, if
                      blockchain.info does not provide the required information, bitinfocharts.com, and if
                      neither provides the required information, the parties shall discuss in good faith to
                      mutually agree upon another data source) and the source for the 24-hour trading volume
                      of the New Token will be (or, ifbitinfocharts.com does not provide the required
                      information, the parties shall discuss in good faith to mutually agree upon another data
                      source prior to the 30-day mark of the creation of the New Token).
                •     Wallet Compatibility’, the New Token is supported by either BitGo wallets or Ledger
                      wallets within 30 days of the Hard Fork or Applicable Airdrop.

            If the Hard Fork or Applicable Airdrop meets the criteria above, Borrower will have up to 60
            days from the Hard Fork or Applicable Airdrop to pay Lender. Borrower can reimburse Lender
            for the value of the New Tokens with any combination of a one-time Digital Currency payment
            of the relevant Digital Currency reflecting the amount of the New Token due using the agreed
            upon spot rate at the moment of repayment, returning the loaned Digital Currency so that Lender
            can split the tokens themselves, sending the New Tokens directly to Lender, or a Dollar cash
            payment at the agreed upon spot rate of the New Token at the time of repayment. In the event of
            a Hard Fork or Applicable Air Drop that does not meet the criteria above, or a Non-Applicable
            Airdrop, Borrower shall have no obligation to send the New Tokens to Lender, or to make a
            payment in Dollars or the relevant Digital Currency for the value of the New Tokens.

                VI.      Representations and Warranties.

                (a) The Borrower represents to the Lender on the date hereof and on the date of each Loan
                    Request made to the Borrower hereunder that each of this Agreement has been duly and
                    validly authorized, executed and delivered on behalf of the Borrower and constitutes the
                    legal, valid and binding obligations of the Borrower enforceable against the Borrower in
                    accordance with its terms (except as such enforceability may be limited by bankruptcy,
                    insolvency, reorganization, moratorium or similar laws relating to or limiting creditors’
                    rights generally and subject to the availability of equitable remedies) and will not
                    contravene (a) the constitutive documents of Borrower, (b) any Applicable Law, and (c)
                    any judgment, award, injunction or similar legal restriction.

                (b) Each party represents that no license, consent, authorization or approval or other action by,
                    or notice to or filing or registration with, any Governmental Authority (including any
                    foreign exchange approval), and no other third-party consent or approval, is necessary for
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                    the due execution, delivery and performance by such party of this Agreement or for the
                    legality, validity or enforceability thereof against such party.

              (c) Each party hereto represents and warrants that it has not relied on the other for any tax or
                  accounting advice concerning this Agreement and that it has made its own determination
                  as to the tax and accounting treatment of any Loan or any Digital Currency or funds
                  received hereunder.

              (d) Lender represents and warrants that it has, or will have at the time of transfer of any
                  Digital Currency, the right to lend such Digital Currency subject to the terms and
                  conditions hereof, that it owns the Digital Currency, free and clear of all liens and
                  that the Digital Currency has been acquired in accordance with all Applicable
                  Laws.

              (e) Borrower represents and warrants that it has, or will have at the time of return of any
                  Digital Currency, the right to transfer such Digital Currency subject to the terms and
                  conditions hereof, and, free and clear of all liens and encumbrances other than those
                  arising under this Agreement and that the Digital Currency that it will return has been
                  acquired in accordance with all Applicable Laws.

              VII.          Default

         It is further understood that the following defaults shall constitute events of default hereunder
         and are hereinafter referred to as an “Event of Default” or “Events of Default”:

              (a) the failure of the Borrower to return any Borrowed Amount or pay any Borrow Fees
                  when due hereunder;

              (b)       the failure by the Lender to return any Collateral when due hereunder;

              (c) a material default in the performance by Borrower of any of the other
                  agreements, conditions, covenants, provisions or stipulations contained in any
                  of the Loan Documents;

              (d) any bankruptcy, insolvency, reorganization or liquidation proceedings or other
                  proceedings for the relief of debtors or dissolution proceedings shall be instituted by or
                  against the Borrower and shall not be dismissed within thirty (30) days of their initiation;
                  or

              (e) any representation or warranty made in any of the Loan Documents proves to be untrue
                  in any material respect as of the date of making or deemed making thereof.

              VIII.         Remedies
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          Upon the occurrence and during the continuation of any Event of Default, the Lender may, at its
          option, (a) declare all Borrowed Amounts outstanding hereunder immediately due and payable,
          (b) terminate this Agreement upon notice to Borrower, and (c) exercise all other rights and
          remedies available to the Lender hereunder, under applicable law, or in equity; provided, that
          upon any Event of Default pursuant to Section VII all Borrowed Amounts and the amount of
          any Fees then outstanding hereunder shall automatically become and be immediately due and
          payable.



              IX.         Rights and Remedies Cumulative.

          No delay or omission by the Lender in exercising any right or remedy hereunder shall operate as
          a waiver of the future exercise of that right or remedy or of any other rights or remedies
          hereunder. All rights of the Lender stated herein are cumulative and in addition to all other
          rights provided by law, in equity.

              X.          Collection Costs.

          In the event Borrower fails to pay any amounts due or to return any Digital Currency hereunder,
          the Borrower shall pay to the Lender upon demand all reasonable costs and expenses, including
          without limitation, reasonable attorneys’ fees and court costs incurred by the Lender in
          connection with the enforcement of its rights hereunder.

               XI.         Passwords and Security,
         Each party is responsible for maintaining adequate security and control of any and all passwords,
         private keys, and any other codes that it uses to Transfer or receive Digital Currencies hereunder.
         Each party will be solely responsible for the private keys that it uses to make the Transfers and
         maintaining secure back-ups. Each party will promptly notify the others of any security breach of
         its accounts, systems or networks as soon as possible. Each party will cooperate with the other
         party in the investigation of any suspected unauthorized Transfers or attempted Transfers using a
         party’s account credentials or private keys, and any security breach of a party’s accounts, systems,
         or networks, and provide the other party with the results of any third-party forensic investigation
         that it may undertake. Each party will be responsible for any unauthorized Transfers made utilizing
         its passwords, private keys, and any other codes it uses to make or receive Transfers.

              XII.        Governing Law: Dispute Resolution.

          This Agreement is governed by, and shall be construed and enforced under, the laws of the State
          of New York applicable to contracts made and to be performed wholly within such State, without
          regard to any choice or conflict of laws rules. If a dispute arises out of or relates to this
          Agreement, or the breach thereof, and if said dispute cannot be settled through negotiation it
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          shall be finally resolved by arbitration administered in the County of New York, State of New
          York by the American Arbitration Association under its Commercial Arbitration Rules, or such
          other applicable arbitration body as required by law or regulation, and judgment upon the award
          rendered by the arbitrators may be entered in any court having jurisdiction. If any proceeding is
          brought for the enforcement of this Agreement, then the successful or prevailing party shall be
          entitled to recover attorneys’ fees and other costs incurred in such proceeding in addition to any
          other relief to which it may be entitled.



              XIII.       Notices.

          Unless otherwise provided in this Agreement, all notices or demands relating to this Agreement
          shall be in writing and shall be personally delivered or sent by Express or certified mail (postage
          prepaid, return receipt requested), overnight courier, electronic mail (at such email addresses as a
          party may designate in accordance herewith), or to the respective address set forth below:

          Borrower:
          Alejandro Canto
          9456 SW 171st Pl
          Miami, FL 33196
          Attn: Mr. Alejandro Canto
          Email: aleiandro@mecbd.com

          Lender:
          BKCoin Management LLC
          1101 Brickell Ave. S-800
          Miami, FL 33131
          Attn: Trading Team
          Email: trading@bkcoincaDital.com

         Either party may change its address by giving the other party written notice of its new address as
         herein provided.

              XIV.        Modifications.

          All modifications or amendments to this Agreement shall be effective only when reduced to
          writing and signed by both parties hereto.

              XV.         Entire Agreement.

          This Agreement and each exhibit referenced herein constitutes the entire Agreement among the
          parties with respect to the subject matter hereof and supersedes any prior negotiations,
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          understandings and agreements.

              XVI.        Successors and Assigns.

          This Agreement shall bind and inure to the benefit of the respective successors and assigns of
          each of the parties; provided, that neither party may assign this Agreement or any rights or duties
          hereunder without the prior written consent of the other party.

              XVII.      Severability of Provisions.

          Each provision of this Agreement shall be severable from every other provision of this
          Agreement for the purpose of determining the legal enforceability of any specific provision.

              XVIII.      Counterpart Execution.

          This Agreement may be executed in any number of counterparts and by different parties on
          separate counterparts, each of which, when executed and delivered, shall be deemed to be an
          original, and all of which, when taken together, shall constitute but one and the same Agreement.
          Delivery of an executed counterpart of this Agreement by email or other electronic method of
          transmission shall be equally as effective as delivery of an original executed counterpart of this
          Agreement. Any party delivering an executed counterpart of this Agreement by email or other
          electronic method of transmission also shall deliver an original executed counterpart of this
          Agreement but the failure to deliver an original executed counterpart shall not affect the validity,
          enforceability, and binding effect of this Agreement.

              XIX.       Relationship of Parties.

          Nothing contained in this Agreement shall be deemed or construed by the parties, or by any third
          party, to create the relationship of partnership or joint venture between the parties hereto, it being
          understood and agreed that no provision contained herein shall be deemed to create any
          relationship between the parties hereto other than the relationship of Borrower and Lender.

              XX.        Term and Termination.

          The Term of this Agreement shall commence on the date hereof for a period of one year, and
          shall automatically renew for successive one-year terms annually, unless either party provides
          notice of a desire to terminate the contract no less than ten (10) days prior to the end of such one-
          year period. The foregoing notwithstanding, this Agreement may be terminated as set forth in
          Section VI or upon 30 days’ notice by either party to the other.

          In the event of a termination of this Agreement, all outstanding Loans shall be deemed terminated
          and any loaned Digital Currency shall be redelivered immediately and any fees owed shall be
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          payable immediately.

              XXL Miscellaneous.

          Whenever used herein, the singular number shall include the plural, the plural the singular, and
          the use of the masculine, feminine, or neuter gender shall include all genders. This Agreement is
          solely for the benefit of the parties hereto and their respective successors and assigns, and no
          other Person shall have any right, benefit, priority or interest under, or because of the existence
          of, this Agreement. The section headings are for convenience only and shall not affect the
          interpretation or construction of this Agreement. The Parties acknowledge that the Agreement
          and any Order are the result of negotiation between the Parties which are represented by
          sophisticated counsel and therefore none of the Agreement’s provisions will be construed against
          the drafter.
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            IN WITNESS WHEREOF, the parties have caused this Agreement to be executed and delivered
            as of the date first above written.



            Borrower:
           Alejandro Canto
                   x— DocuStannd hy:
            By:lz^____________
            Nam^W^^anto

            Title:




            Lender:
           BKCoh ^apag^ent LLC

             BV: X------ 3E340619AFA34E0___________________


             Name,carlos Betancourt
             Title: Founding principal
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                                                  EXHIBIT A

          Authorized Agents. The following are authorized to deliver Lending Requests on behalf of
          Borrower in accordance with Section 3 hereof:

          Name:
          n/a
          Email:
          n/a

          Name:
          n/a
          Email:
          n/a

          Borrower may change its Authorized Agents by notice given to Lender as provided herein.
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                                                             EXHIBIT B
                                                          LOAN TERM SHEET

            The following loan agreement dated June 7th, 2021 incorporates all of the terms of the Master
            Credit Agreement entered into by BKCoin Management LLC (“BKCoin”) and Alejandro Canto
            (“Borrower”) on June 7, 2021 and the following specific terms:


            Borrower:                                    Alejandro Canto
            Lender:                                      BKCoin Management LLC


            Currency/Digital Currency:                   USD 3,000,000
            Amount of Digital Currency:                  N/A
            Borrow Fee:                                  9.99%
            Loan Type:                                   Open/Callable
            Loan Term:                                   N/A
            Initial Collateral Level:                    100%
            Type Collateral:                             ETH and/or BTC
            Margin Call Rate:                            20%
            Margin Refund Rate:                          n/a
            Loan Effective Date:                         October 7th, 2021
            Recall Delivery Date:                        The tenth (10th) Business Dav from the Recall Request Dav



            BKCoin Management LLC                                        Alejandro Canto


                     DocuSigned by:                                                s— DocuSigned by:



             BV:     3E340619AFA24E0-_________________                       By:   >------ 25CQEF449E52400...________________


             Name-Car^0S Betancourt                                          Name- AleJandro Can-t0
             Title: Founding Principal                                       Title:
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                                 MASTER DIGITAL CURRENCY LOAN AGREEMENT

           This Master Digital Currency Loan Agreement (“Agreement”) is made on this 19th day of
           November, 2021 (“Effective Date”) by and between BKCoin Management LLC, (“BKCoin” or
           “Lender”), a limited liability company organized and existing under the laws of Delaware and
           Alejandro Canto (“Borrower”) an individual with primary address at
           4531 sw 15 th st, mi ami Fl 33134


                                                             RECITALS

           WHEREAS, subject to the terms and conditions of this Agreement, Borrower may, from time to
           time, seek to initiate a transaction pursuant to which Lender will lend Digital Currency to
           Borrower and Borrower will return such Digital Currency to Lender upon the termination of the
           Loan.

           Now, therefore, in consideration of the foregoing and other good and valuable consideration, the
           receipt and sufficiency of which hereby acknowledged, the Borrower and the Lender hereby
           agree as follows:

           I.            Definitions

           “Airdrop” means a distribution of a new token or tokens resulting from the ownership of a
           separate token. For the purposes of Section V, an “Applicable Airdrop” is an Airdrop for which
           the distribution of new tokens can be definitively calculated according to its distribution method,
           such as a pro rata distribution based on the amount of the relevant Digital Currency held at a
           specified time. A “Non-Applicable Airdrop” is an Airdrop for which the distribution of new
           tokens cannot be definitively calculated, such as a random distribution.

           “Applicable Law” means (regardless ofjurisdiction) any applicable (i) federal, national, state and
           local laws, ordinances, regulations, orders, statutory instrument, rules, treaties, codes of practice,
           guidance notes, policy statements, customary laws, decrees, injunctions, or judgments and any
           (ii) ruling, declaration, regulation, requirement, request or interpretation issued by any (or any
           quasi-) regulatory, judicial, administrative or governmental body or person;

           “AuthorizedAgent” has the meaning set forth in Exhibit A.

           “Borrow Fee” means the fee paid by Borrower to the Lender for the Loan.

           “Borrower” means Alejandro Canto.

           “Business Day” means a day on which BKCoin Management LLC is open for business. BKCoin
           Management LLC follows the New York Stock Exchange calendar of holidays.
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         “Callable Option” means the Borrower and Lender each have the option to redeliver or recall an
         Open Deal Loan at any time during the term of the deal.

         “Confirmation Protocol” means the requirement that the Transfer of a Digital Currency, may not
         be deemed settled and completed until (i) the transaction has been recorded in a block and five (5)
         consecutive subsequent blocks referring back to such block (meaning six (6) blocks in total) have
         been added to the applicable blockchain; or (ii) the transaction has met a different protocol for a
         specific Digital Currency agreed to by the parties and added hereto as Exhibit C.
         “Digital Currency” means Bitcoin (BTC), Bitcoin Cash (BCH), Ether (ETH), Ether Classic
         (ETC), or Litecoin (LTC), any Resulting Currency and any digital currency that the
         Borrower and Lender agree upon.

         “Digital Currency Address” means an identifier of 26-34 alphanumeric characters that
         represents a possible destination for a Transfer of Digital Currency.

          “Dollars” and      mean lawful money of the United States of America.

          “Fees” mean the Borrow Fee and the Late Fee.

           “Fork” means a permanent divergence in the relevant Digital Currency block chain, that
          commonly occurs when non-upgraded nodes can’t validate blocks created by upgraded nodes
          that follow newer consensus rules.

           “Governmental Authority” means the government of any other nation, or of any political
          subdivision thereof, whether state or local, and any agency, authority, instrumentality, regulatory
          body, court or other entity exercising executive, legislative, judicial, taxing, regulatory or
          administrative powers or functions of or pertaining to government.

           “Hard Fork” has the meaning set forth in Section (h).

          “Late Fee” has the meaning set forth in Section 111(b).

          “Lender” means BKCoin Management LLC

          “Loan” means a request for a loan or an actual loan of Digital Currency made pursuant to and
          subject to this Agreement.

          “Loan Documents” shall mean this Agreement, all Lending Requests and all exhibits and
          schedules hereto.

          “Loan Effective Date” means the date upon which a Loan begins.
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             “Maturity Date” means the date upon which a Loan is terminated.


             “Open Dear means a Loan without a Maturity Date where Borrower may redeliver the Digital
             Currency and Lender to may recall the Digital Currency at any time, subject to this Agreement.

             “Resulting Currency” means a Digital Currency issued as a result of a Hard Fork.


             “Taxes” means all present or future taxes, levies, imposts, duties, deductions, withholdings,
             assessments, fees or other charges imposed by any Governmental Authority, including any
             interest, additions to Tax or penalties applicable thereto.

            “Term” shall have the meaning set forth in Section XX.


             “Term Deal” means a Loan with a pre-determined Maturity Date, where only Borrower can
             return the Digital Currency prior to maturity.

            “Transfer” shall mean, as applicable, the delivery of Digital Currency by Lender or the
            redelivery of Digital Currency by Borrower hereunder.

                 ii.              General OperatiojL

                 (a)           Loans of Digital Currency

            Subject to the terms and conditions hereof, Borrower may, in its sole and absolute discretion,
            request the Lender to Loan to Borrower a specified amount of Digital Currency, and Lender
            may, in its sole and absolute discretion, extend such Loan or decline to extend such Loan.

                 (b)           Loan Procedure

            From time to time during the Term of this Agreement, on a Business Day (the ‘"Request Day”) an
            Authorized Agent of Borrower may by email directed to trading@bkcoincapital.com , request
            from Lender a Loan of a specific amount of Digital Currency (a ""Lending Request”). Lender
            shall by email directed to alejandro@mecbd.com, inform Borrower whether Lender agrees to
            make such a Loan. Once made, Lending Requests may not be withdrawn by Borrower and a
            Lending Request shall be deemed rejected unless accepted by Lender as set forth above within
            two (2) Business Days of the Request Date.

             As part of its Lending Request, Borrower shall provide the following information:

                       (i)               The type of Digital Currency requested;
                       (ii)              the amount of Digital Currency requested;
                       (iii)             whether the Loan is a Term Deal or an Open Deal;
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                    (iv)      the Loan Effective Date, which shall be no less than five (5) Business Days from
                              the date of the Lending Request; and
                    (v)               the Maturity Date (if a Term Deal).

          If Lender agrees to make a Loan, the Lender shall commence transmission to the Borrower’s
          Digital Currency Address the amount of Digital Currency set forth in the Lending Request (the
          “Borrowed Amount”) on or before 5:00 pm New York Time on the Request Day.

          Specifics of each Loan shall be memorialized using the Loan Term Sheet attached as Exhibit B.

              (c)          Callable Option

          Applicable to Open Deal Loans, Lender may at any time from 9:00 am until 5:00 pm New York
          time on a Business Day (the “Recall Request Day”) exercise the Callable Option and recall all or
          any portion of a Digital Currency loaned to Borrower (the “Recall Amount”). Borrower will then
          have until 5:00 pm New York time on the “Recall Delivery Dav”, as agreed to and defined in the
          relevant Loan Term Sheet, to deliver the Recall Amount. In the event a Market Disruption Event
          is in effect on any Recall Delivery Day, the Recall Delivery Day will be extended fifteen (15)
          days. If a Market Disruption Event is still in effect at the end of such fifteen (15) day period,
          Borrower shall immediately transfer available funds an amount in Dollars equal to the average
          price on the Liquidity Exchanges (measured at 4:00 p.m. New York time) of the borrowed
          Digital Currency during the fifteen (15) Calendar Days including and prior to the Market
          Disruption Event in the borrowed Digital Currency (the “Market Disruption Spot Rate”). For
          purposes of this Agreement, “Market Disruption Event” means any event, circumstance,
          occurrence or condition that is beyond Borrower’s control that restricts Borrower from
          delivering the Recall Amount in the normal course by exercising commercially reasonable
          efforts, including, for example, 51% attacks in which any Liquidity Exchange limits transfers,
          mining of empty blocks, no blocks being produced at all, or any Liquidity Exchange being
          censored by miners.

          Borrower may at any time from 9:00 am until 5:00 pm New York time on a Business Day (the
          “Redeliverv Day”) exercise the Callable Option and deliver all or any portion of any Digital
          Currency loaned to Borrower.

              (d)          Termination of Loan

          Loans will terminate:

                    (i)       If a Term Deal, upon redelivery by Borrower of the Digital Currency at the
                              Maturity Date or sooner;

                    (ii)      If an Open Deal, upon redelivery by Borrower of the Digital Currency once the
                              Borrower or Lender exercises the Callable Option; or
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                    (iii)              At the end of the TermXX.

              (e)           Redelivery of Borrowed Digital Currency

         Upon termination of a Loan according to this Agreement, the Borrower shall commence
         redelivery of the borrowed Digital Currency on or before 5:00 pm New York time of the
         applicable Business Day (i.e., the Maturity Date, the Recall Delivery Day, or the Redelivery
         Day).

              (f)           Redeliverv in an Illiquid Market

          If the market in the borrowed Digital Currency becomes Illiquid (as defined below), Borrower
          may repay the Loan in Dollars at the Illiquid Market Spot Rate (as defined below). The market
          in the borrowed Digital Currency is “Illiquid” if the seven-day average daily trading volume
          across each of the top three exchanges reporting prices for the borrowed Digital Currency (as
          measured by the 30-day average daily trading volume on the Loan Date) (the such exchanges,
          the “Liquidity Exchanges”) has decreased by 90% from the date of the Loan Term Sheet to the
          Maturity Date, or if the borrowed Digital Currency ceases to be listed on any of the Liquidity
          Exchanges. If the market is Illiquid, Borrower shall repay on the Maturity Date or on the Recall
          Delivery Date an amount in Dollars equal to the average price on the Liquidity Exchanges
          (measured at 4:00 p.m. New York time) of the borrowed Digital Currency during the fifteen
          (15) Calendar Days including and prior to the determination of an Illiquid market in the
          borrowed Digital Currency (the “Illiquid Market Spot Rate”). Notwithstanding the forgoing or
          anything in this Agreement to the contrary, Borrower may always satisfy its repayment or
          delivery obligations in this Agreement by repaying or delivering the applicable amount of
          borrowed Digital Currency.

              (g)           Acts by Governmental Authorities and Changes in Applicable Laws.
         If because of enforcement actions by Governmental Authorities of competent jurisdiction or
         changes in Applicable Laws (“Government Restrictions”), a party’s ability to transfer or own a
         Digital Currency that has been the subject of a Loan or Loans is eliminated, materially impaired or
         declared illegal:
                    (1) if possible under the Government Restrictions, including, without limitation, during
                        any notice or grace period, Borrower shall repay to the Lender any outstanding balance
                        of such Digital Currency and any accrued but unpaid Fees, such repayment to be made
                        in the Digital Currency;
                    (2) if return is not possible under the Government Restrictions, Borrower shall repay
                        Lender an amount in Dollars equal to the volume-weighted average price on the
                        Liquidity Exchanges (measured at 4 p.m. New York time) of the borrowed Digital
                        Currency during the 30 day period prior to the effective date of the Government
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                         Restrictions.
                 III.          Borrow Fees and Transaction Fees.

                 (a)       Borrow Fee Calculation

            When a Loan is executed, the Borrower will be responsible to pay the Borrow Fee as agreed to in
            the relevant Loan Term Sheet, the Borrow Fee shall be annualized but calculated daily and is
            subject to change if agreed to by Borrower and Lender. The Borrow Fee shall be payable, unless
            otherwise agreed by the Borrower and Lender, in the applicable Digital Currency.

            Lender shall calculate any Borrow Fees owed on a daily basis and provide Borrower with the
            calculation upon request.

                 (b)      Late Fee

            For each Calendar Day in excess of the Maturity Date or the Recall Delivery Day (whichever is
            applicable) in which Borrower has not returned any Digital Currency, Borrower shall incur an
            additional fee (the “Late Fee”) of 5% (annualized, calculated daily) of the notional amount of the
            Loan in addition to the Borrow Fee.

                 (c)      Payment of Borrow Fees and Late Fees

            An invoice for Borrow Fees and any Late Fees (the “Invoice Amount”) shall be sent out on the
            first Business Day of the month and shall include any Borrow Fees incurred from the previous
            month. Borrower shall have up to five Business Days to submit payment for the invoice (the
            “Invoice Due Date”). Fees unpaid by the Invoice Due Date shall also become subject to the
            Late Fee commencing the day after the Invoice Due Date.

                 (d)      Application of Payments

           Borrower shall, at the time of making each payment under this Agreement, specify to the Lender
           the Loan to which such payment is to be applied. In the event that the Borrower fails to so specify,
           or if an Event of Default has occurred and is continuing, the Lender may apply the payment in such
           manner as it may determine to be appropriate in its sole discretion.

                 (e)      Application of Insufficient Payments

           If at any time insufficient amounts are received by the Lender to pay fully all amounts of principal,
           Fees, and other amounts then due and payable hereunder, such Digital Currency payment received
           shall be applied (i) first, to pay Fees then due and payable hereunder, (ii) then, to pay principal then
           due and payable hereunder, and (iii) then, to pay other amounts then due and payable under this
           Agreement. In no event shall payments by Borrower in one Digital Currency be applied by Lender
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         to pay off obligations outstanding with respect to a Loan in another Digital Currency.

              (f)       Non-Business Davs

         If the due date of any payment under this Agreement would otherwise fall on a day that is not a
         Business Day, such date shall be extended to the next succeeding Business Day and, in the case of
         any payment accruing Fees such Fees shall be payable for the period of such extension.

              (g)       Computations

         Fees shall be computed on the basis of a year of 360 days for the actual number of days (including
         the first day but excluding the last day) occurring in the period for which payable. For purposes of
         calculating Fees, Digital Currencies shall be deemed to have been Transferred by one party to the
         other when the applicable Confirmation Protocol for the relevant Digital Currency has been
         completed. If the requirements of the Confirmation Protocol are not met by 5pm New York Time,
         the Transfer shall be deemed to have been made on the following Business Day. Calculation of
         Fees shall be based on the date when the relevant Transfer is deemed to have occurred.

              (h)       Taxes

                    (1) All Taxes assessed on Borrower with respect to the Borrowed Amount shall be paid
                        by Borrower.
                    (2) No Loans made under this Agreement shall be treated as a taxable disposition under
                        Internal Revenue Code section 1001.

              IV.      Collateral Requirements

              (a)       Collateral

           Borrower shall provide as collateral an amount of U.S. Dollars or Digital Currency to be determined
           and agreed upon by the Borrower and Lender (“Collateral”) and memorialized using the Loan Term
           Sheet attached as Exhibit B. The Collateral will be defined as a percentage of the value of the
           borrowed Digital Currency, such value determined by a spot rate agreed upon in the Loan Term
           Sheet. Lender shall be entitled to use the Collateral to conduct its digital currency lending and
           borrowing business, including transferring the Collateral to other non-Galaxy bank accounts.

              (b)       Margin Calls

         If during the term of a Loan the value of the borrowed Digital Currency increases by the Margin
         Call Rate indicated on the Loan Term Sheet as measured by the spot rate published on Coinbase
         Pro, or if borrowed Digital Currency is not listed on Coinbase Pro, then the spot rate published on
         Kraken (such rate, the “Margin Call Spot Rate”) over the spot rate indicated in the Loan Term
         Sheet, or the prior Margin Call Spot Rate, as applicable, Lender shall have the right to require
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           Borrower to contribute additional Collateral so that the Collateral is at least the same percentage
           indicated in the Loan Term Sheet relative to the value of the borrowed Digital Currency at the
           Margin Call Spot Rate (the “Additional Collateral”). If during the term of a Loan the value of the
           borrowed Digital Currency decreases below the original borrowed amount, Borrower shall have
           the right to require Lender to return a portion of Collateral equivalent to such decrease (the
           “Collateral Return Amount”).

           If Lender requires Borrower to contribute Additional Collateral, or if Borrower requires Lender to
           return Collateral, such requiring party shall send an email notification (the “First Notification”) to
           the other party on a Business Day at the email address indicated in Section XIII that sets forth: (i)
           the Margin Call Spot Rate and (ii) the amount of Additional Collateral required based on the
           Margin Call Spot Rate, or the Collateral Return Amount, as applicable. Borrower or Lender, as
           applicable, shall have twelve (12) hours on a Business Day from the time it receives such First
           Notification to (x) respond and send payment to the requesting party , or (y) respond that the spot
           rate as indicated on Coinbase Pro or Kraken, as applicable, has changed sufficiently such that the
           transfer of Additional Collateral or the Collateral Return Amount, as applicable, is no longer
           required. If the requesting party agrees by email that the response according to (y) above is correct
           then no other action is required.

           If Borrower or Lender, as applicable, fails to respond to the First Notification within twelve (12)
           hours on Business Days, and the spot rate of the borrowed Digital Currency is still at least at the
           Margin Call Spot Rate or below the original borrowed amount, as applicable, Lender or Borrower,
           as applicable, may send a second email notification (the “Second Notification”) repeating the
           information in (i) and (ii) in the paragraph above. Borrower or Lender, as applicable, shall have six
           (6) hours on Business Days from the time the requesting party sends the Second Notification to
           respond according to (x) or (y) above. Failure to respond to either the First Notification or the
           Second Notification, shall give the requesting party the option to declare an Event of Default under
           Section VII below.

                (c)       Default or Failure to Return Loan or Collateral

           In the event that Borrower does not return the Loan upon Termination or in the event of default
           pursuant to Sections VII of this Agreement, Lender shall transfer that portion of the Collateral from
           the Collateral Account to Lender’s operating account necessary for the payment of any liability or
           obligation or indebtedness created by this Agreement, including, but not limited to using the
           Collateral to purchase the relevant Digital Currency to replenish Lender’s supply of the relevant
           Digital Currency.

                (d)       Return of Collateral

           Upon Borrower’s redelivery of the Loan and acceptance of Lender of the Borrowed Digital
           Currency into Lender’s wallet address as provided herein, with such delivery being confirmed on
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           the relevant Digital Currency blockchain ten times, Lender shall initiate the return of Collateral to a
           bank account in the name of Borrower. If Borrower provided Digital Currency as collateral,
           Lender’s return of any Digital Currency posted as collateral must satisfy BKCoin’s Bank Secrecy
           Act and Anti-money Laundering obligations.

                 V.      Hard Fork

                 (a)       Notification

             In the event of a Hard Fork or an Airdrop, Lender shall provide email notification to Borrower.

                 (b)       No Immediate Termination of Loans Due to Hard Fork

            In the event of a Hard Fork or an Airdrop, any outstanding Loans will not be immediately
            terminated.

                 (c)      Redelivery of Borrowed Digital Currency

             Lender will receive the benefit of any incremental tokens generated as a result of a Fork in the
             relevant Digital Currency protocol or an Applicable Airdrop that results in a second token (the
             “New Token”) being created. For purposes of this agreement, a Hard Fork will have been
             deemed to have occurred if any two of the following four conditions are met:
                 • Hash Power: the average hash power mining the New Token on the 30th day following
                    the occurrence of the Hard Fork or Applicable Airdrop (calculated as a 30-day average on
                    such date) is at least 20% of the hash power mining the relevant Digital Currency on the
                    day preceding the Hard Fork or Applicable Airdrop (calculated as a 3-day average of the
                    3 days preceding the hard fork). The source for the relevant Digital Currency hash power
                    will be blockchain.info (or, if blockchain.info does not provide the required information,
                    bitinfocharts.com, and if neither provides the required information, the parties shall
                    discuss in good faith to mutually agree upon another data source) and the source for the
                    hash power of the New Token will be bitinfocharts.com (or, ifbitinfocharts.com does not
                    provide the required information, the parties shall discuss in good faith to mutually agree
                    upon another data source prior to the 30-day mark of the creation of the New Token).
                 ♦ Market Capitalization: the average market capitalization of the New Token (defined as
                    the total value of all New Tokens) on the 30th day following the occurrence of the Hard
                    Fork or Applicable Airdrop (calculated as a 30-day average on such date) is at least 20%
                    of the average market capitalization of the relevant Digital Currency (defined as the total
                    value of the relevant Digital Currency) (calculated as a 30-day average on such date).
                    The source for the relevant Digital Currency market capitalization will be blockchain.info
                    (or, if blockchain.info does not provide the required information, bitinfocharts.com, and
                    if neither provides the required information, the parties shall discuss in good faith to
                    mutually agree upon another data source) and the source for the market capitalization of
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                    the New Token will be (or, ifbitinfocharts.com does not provide the required
                    information, the parties shall discuss in good faith to mutually agree upon another data
                    source prior to the 30-day mark of the creation of the New Token).
              •     24-Hour Trading Volume', the average 24-hour trading volume of the New Token on the
                    30th day following the occurrence of the Hard Fork or Applicable Airdrop (calculated as
                    a 30-day average on such date) is at least 20% of the average 24-hour trading volume of
                    the relevant Digital Currency (calculated as a 30-day average on such date). The source
                    for the relevant Digital Currency 24-hour trading volume will be blockchain.info (or, if
                    blockchain.info does not provide the required information, bilinfocharls.com, and if
                    neither provides the required information, the parties shall discuss in good faith to
                    mutually agree upon another data source) and the source for the 24-hour trading volume
                    of the New Token will be (or, ifbitinfocharts.com does not provide the required
                    information, the parties shall discuss in good faith to mutually agree upon another data
                    source prior to the 30-day mark of the creation of the New Token).
              •     Wallet Compatibility’, the New Token is supported by either BitGo wallets or Ledger
                    wallets within 30 days of the Hard Fork or Applicable Airdrop.

          If the Hard Fork or Applicable Airdrop meets the criteria above, Borrower will have up to 60
          days from the Hard Fork or Applicable Airdrop to pay Lender. Borrower can reimburse Lender
          for the value of the New Tokens with any combination of a one-time Digital Currency payment
          of the relevant Digital Currency reflecting the amount of the New Token due using the agreed
          upon spot rate at the moment of repayment, returning the loaned Digital Currency so that Lender
          can split the tokens themselves, sending the New Tokens directly to Lender, or a Dollar cash
          payment at the agreed upon spot rate of the New Token at the time of repayment. In the event of
          a Hard Fork or Applicable Air Drop that does not meet the criteria above, or a Non-Applicable
          Airdrop, Borrower shall have no obligation to send the New Tokens to Lender, or to make a
          payment in Dollars or the relevant Digital Currency for the value of the New Tokens.

              VI.      Representations and Warranties.

              (a) The Borrower represents to the Lender on the date hereof and on the date of each Loan
                  Request made to the Borrower hereunder that each of this Agreement has been duly and
                  validly authorized, executed and delivered on behalf of the Borrower and constitutes the
                  legal, valid and binding obligations of the Borrower enforceable against the Borrower in
                  accordance with its terms (except as such enforceability may be limited by bankruptcy,
                  insolvency, reorganization, moratorium or similar laws relating to or limiting creditors’
                  rights generally and subject to the availability of equitable remedies) and will not
                  contravene (a) the constitutive documents of Borrower, (b) any Applicable Law, and (c)
                  any judgment, award, injunction or similar legal restriction.

              (b) Each party represents that no license, consent, authorization or approval or other action by,
                  or notice to or filing or registration with, any Governmental Authority (including any
                  foreign exchange approval), and no other third-party consent or approval, is necessary for
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                       the due execution, delivery and performance by such party of this Agreement or for the
                       legality, validity or enforceability thereof against such party.

                 (c) Each party hereto represents and warrants that it has not relied on the other for any tax or
                     accounting advice concerning this Agreement and that it has made its own determination
                     as to the tax and accounting treatment of any Loan or any Digital Currency or funds
                     received hereunder.

                 (d) Lender represents and warrants that it has, or will have at the time of transfer of any
                     Digital Currency, the right to lend such Digital Currency subject to the terms and
                     conditions hereof, that it owns the Digital Currency, free and clear of all liens and
                     that the Digital Currency has been acquired in accordance with all Applicable
                     Laws.

                 (e) Borrower represents and warrants that it has, or will have at the time of return of any
                     Digital Currency, the right to transfer such Digital Currency subject to the terms and
                     conditions hereof, and, free and clear of all liens and encumbrances other than those
                     arising under this Agreement and that the Digital Currency that it will return has been
                     acquired in accordance with all Applicable Laws.

                 VII.     Default

           It is further understood that the following defaults shall constitute events of default hereunder
           and are hereinafter referred to as an “Event of Default” or “Events of Default”:

                 (a) the failure of the Borrower to return any Borrowed Amount or pay any Borrow Fees
                     when due hereunder;

                 (b)       the failure by the Lender to return any Collateral when due hereunder;

                 (c) a material default in the performance by Borrower of any of the other
                     agreements, conditions, covenants, provisions or stipulations contained in any
                     of the Loan Documents;

                 (d) any bankruptcy, insolvency, reorganization or liquidation proceedings or other
                     proceedings for the relief of debtors or dissolution proceedings shall be instituted by or
                     against the Borrower and shall not be dismissed within thirty (30) days of their initiation;
                     or

                 (e) any representation or warranty made in any of the Loan Documents proves to be untrue
                     in any material respect as of the date of making or deemed making thereof.
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                 VIII.         Remedies

             Upon the occurrence and during the continuation of any Event of Default, the Lender may, at its
             option, (a) declare all Borrowed Amounts outstanding hereunder immediately due and payable,
             (b) terminate this Agreement upon notice to Borrower, and (c) exercise all other rights and
             remedies available to the Lender hereunder, under applicable law, or in equity; provided, that
             upon any Event of Default pursuant to Section VII all Borrowed Amounts and the amount of
             any Fees then outstanding hereunder shall automatically become and be immediately due and
             payable.



                 IX.           Rights and Remedies Cumulative.

            No delay or omission by the Lender in exercising any right or remedy hereunder shall operate as
            a waiver of the future exercise of that right or remedy or of any other rights or remedies
            hereunder. All rights of the Lender stated herein are cumulative and in addition to all other
            rights provided by law, in equity.

                 X.            Collection Costs.

            In the event Borrower fails to pay any amounts due or to return any Digital Currency hereunder,
            the Borrower shall pay to the Lender upon demand all reasonable costs and expenses, including
            without limitation, reasonable attorneys’ fees and court costs incurred by the Lender in
            connection with the enforcement of its rights hereunder.

                 XL          Passwords and Security.
           Each party is responsible for maintaining adequate security and control of any and all passwords,
           private keys, and any other codes that it uses to Transfer or receive Digital Currencies hereunder.
           Each party will be solely responsible for the private keys that it uses to make the Transfers and
           maintaining secure back-ups. Each party will promptly notify the others of any security breach of
           its accounts, systems or networks as soon as possible. Each party will cooperate with the other
           party in the investigation of any suspected unauthorized Transfers or attempted Transfers using a
           party’s account credentials or private keys, and any security breach of a party’s accounts, systems,
           or networks, and provide the other party with the results of any third-party forensic investigation
           that it may undertake. Each party will be responsible for any unauthorized Transfers made utilizing
           its passwords, private keys, and any other codes it uses to make or receive Transfers.

                 XII.          Governing Law: Dispute Resolution.

            This Agreement is governed by, and shall be construed and enforced under, the laws of the State
            of New York applicable to contracts made and to be performed wholly within such State, without
            regard to any choice or conflict of laws rules. If a dispute arises out of or relates to this
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            Agreement, or the breach thereof, and if said dispute cannot be settled through negotiation it
            shall be finally resolved by arbitration administered in the County ofNew York, State of New
            York by the American Arbitration Association under its Commercial Arbitration Rules, or such
            other applicable arbitration body as required by law or regulation, and judgment upon the award
            rendered by the arbitrators may be entered in any court having jurisdiction. If any proceeding is
            brought for the enforcement of this Agreement, then the successful or prevailing party shall be
            entitled to recover attorneys’ fees and other costs incurred in such proceeding in addition to any
            other relief to which it may be entitled.



                 XIII.         Notices.

            Unless otherwise provided in this Agreement, all notices or demands relating to this Agreement
            shall be in writing and shall be personally delivered or sent by Express or certified mail (postage
            prepaid, return receipt requested), overnight courier, electronic mail (at such email addresses as a
            party may designate in accordance herewith), or to the respective address set forth below:

            Borrower:
            Alejandro Canto
            9456 SW 171st Pl
            Miami, FL 33196
            Attn: Mr. Alejandro Canto
            Email: alejandro@mecbd.com

            Lender:
            BKCoin Management LLC
            1101 BrickellAve. S-800
            Miami, FL 33131
            Attn: Trading Team
            Email: trading@bkcoincapital.com

           Either party may change its address by giving the other party written notice of its new address as
           herein provided.

                 XIV.          Modifications.

             All modifications or amendments to this Agreement shall be effective only when reduced to
             writing and signed by both parties hereto.

                 XV.           Entire Agreement.

             This Agreement and each exhibit referenced herein constitutes the entire Agreement among the
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          parties with respect to the subject matter hereof and supersedes any prior negotiations,
          understandings and agreements.

              XVI.        Successors and Assigns.

          This Agreement shall bind and inure to the benefit of the respective successors and assigns of
          each of the parties; provided, that neither party may assign this Agreement or any rights or duties
          hereunder without the prior written consent of the other party.

              XVII.       Severability of Provisions.

          Each provision of this Agreement shall be severable from every other provision of this
          Agreement for the purpose of determining the legal enforceability of any specific provision.

              XVin. Counterpart Execution.

          This Agreement may be executed in any number of counterparts and by different parties on
          separate counterparts, each of which, when executed and delivered, shall be deemed to be an
          original, and all of which, when taken together, shall constitute but one and the same Agreement.
          Delivery of an executed counterpart of this Agreement by email or other electronic method of
          transmission shall be equally as effective as delivery of an original executed counterpart of this
          Agreement. Any party delivering an executed counterpart of this Agreement by email or other
          electronic method of transmission also shall deliver an original executed counterpart of this
          Agreement but the failure to deliver an original executed counterpart shall not affect the validity,
          enforceability, and binding effect of this Agreement.

              XIX.        Relationship of Parties.

          Nothing contained in this Agreement shall be deemed or construed by the parties, or by any third
          party, to create the relationship of partnership or joint venture between the parties hereto, it being
          understood and agreed that no provision contained herein shall be deemed to create any
          relationship between the parties hereto other than the relationship of Borrower and Lender.

              XX.         Term and Termination.

          The Term of this Agreement shall commence on the date hereof for a period of one year, and
          shall automatically renew for successive one-year terms annually, unless either party provides
          notice of a desire to terminate the contract no less than ten (10) days prior to the end of such one-
          year period. The foregoing notwithstanding, this Agreement may be terminated as set forth in
          Section VI or upon 30 days’ notice by either party to the other.

          In the event of a termination of this Agreement, all outstanding Loans shall be deemed terminated
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            and any loaned Digital Currency shall be redelivered immediately and any fees owed shall be
            payable immediately.

                 XXI.    Miscellaneous.

            Whenever used herein, the singular number shall include the plural, the plural the singular, and
            the use of the masculine, feminine, or neuter gender shall include all genders. This Agreement is
            solely for the benefit of the parties hereto and their respective successors and assigns, and no
            other Person shall have any right, benefit, priority or interest under, or because of the existence
            of, this Agreement. The section headings are for convenience only and shall not affect the
            interpretation or construction of this Agreement. The Parties acknowledge that the Agreement
            and any Order are the result of negotiation between the Parties which are represented by
            sophisticated counsel and therefore none of the Agreement’s provisions will be construed against
            the drafter.
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            IN WITNESS WHEREOF, the parties have caused this Agreement to be executed and delivered
            as of the date first above written.



            Borrower:
           Alejandro Canto
                           f— DocuSigned by:




            Name’         Alejandro canto

            Title:




            Lender:
           BKCoin Management LLC
                          x—DocuSigned by:


                           Coifa iWau/mf
             By:_
                         carl^^mourt
             Name:
             Title'        Founding Principal
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                                                   EXHIBIT A

          Authorized Agents. The following are authorized to deliver Lending Requests on behalf of
          Borrower in accordance with Section 3 hereof:

          Name:
          n/a
          Email:
          n/a

          Name:
          n/a
          Email:
          n/a

          Borrower may change its Authorized Agents by notice given to Lender as provided herein.
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                                                         EXHIBIT B
                                                      LOAN TERM SHEET

            The following loan agreement dated June 7th, 2021 incorporates all of the terms of the Master
            Credit Agreement entered into by BKCoin Management LLC (“BKCoin”) and Alejandro Canto
            (“Borrower”) on June 7, 2021 and the following specific terms:


             Borrower:                              Alejandro Canto
             Lender:                                BKCoin Management LLC


             Currency/Digital Currency:             USD 750,000
             Amount of Digital Currency:            N/A
             Borrow Fee:                             11%
             Loan Type:                             Open/Callable
             Loan Term:                             N/A
             Initial Collateral Level:               100%
             Type Collateral:                       ETH and/or BTC
             Margin Call Rate:                      20%
             Margin Refund Rate:                    n/a
             Loan Effective Date:                   November 19th, 2021
             Recall Delivery Date:                  The tenth (10th) Business Dav from the Recall Request Dav



            BKCoin Management LLC                                   Alejandro Canto


                         x   DocuSigned by:
                                                                              z— OocuSlgned by:

                                                                     By:_____ I          ________
             By:------- ----_____________
             Name’       Carlos Betancourt                           Name:
             Title:          Founding Principal                      Title:   Borrower
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                             MASTER DIGITAL CURRENCY LOAN AGREEMENT

         This Master Digital Currency Loan Agreement (“Agreement”) is made on this 9th day of March,
         2022 (“Effective Date”) by and between BKCoin Management LLC, (“BKCoin” or “Lender”), a
         limited liability company organized and existing under the laws of Delaware and Alejandro Canto
         (“Borrower”) an individual with primary address at 4531 sw 15th 5t< Miami Florida 33134

                                                      RECITALS

         WHEREAS, subject to the terms and conditions of this Agreement, Borrower may, from time to
         time, seek to initiate a transaction pursuant to which Lender will lend Digital Currency to
         Borrower and Borrower will return such Digital Currency to Lender upon the termination of the
         Loan.

         Now, therefore, in consideration of the foregoing and other good and valuable consideration, the
         receipt and sufficiency of which hereby acknowledged, the Borrower and the Lender hereby
         agree as follows:

         I.          Definitions

         “Airdrop” means a distribution of a new token or tokens resulting from the ownership of a
         separate token. For the purposes of Section V, an “Applicable Airdrop” is an Airdrop for which
         the distribution of new tokens can be definitively calculated according to its distribution method,
         such as a pro rata distribution based on the amount of the relevant Digital Currency held at a
         specified time. A “Non-Applicable Airdrop” is an Airdrop for which the distribution of new
         tokens cannot be definitively calculated, such as a random distribution.

         “Applicable Law” means (regardless ofjurisdiction) any applicable (i) federal, national, state and
         local laws, ordinances, regulations, orders, statutory instrument, rules, treaties, codes of practice,
         guidance notes, policy statements, customary laws, decrees, injunctions, or judgments and any
         (ii) ruling, declaration, regulation, requirement, request or interpretation issued by any (or any
         quasi-) regulatory, judicial, administrative or governmental body or person;

         “AuthorizedAgent” has the meaning set forth in Exhibit A.

         “Borrow Fee” means the fee paid by Borrower to the Lender for the Loan.

         “Borrower” means Alejandro Canto.

         “Business Day” means a day on which BKCoin Management LLC is open for business. BKCoin
         Management LLC follows the New York Stock Exchange calendar of holidays.

         “Callable Option” means the Borrower and Lender each have the option to redeliver or recall an
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         Open Deal Loan at any time during the term of the deal.

         “Confirmation Protocol” means the requirement that the Transfer of a Digital Currency, may not
         be deemed settled and completed until (i) the transaction has been recorded in a block and five (5)
         consecutive subsequent blocks referring back to such block (meaning six (6) blocks in total) have
         been added to the applicable blockchain; or (ii) the transaction has met a different protocol for a
         specific Digital Currency agreed to by the parties and added hereto as Exhibit C.
         “Digital Currency” means Bitcoin (BTC), Bitcoin Cash (BCH), Ether (ETH), Ether Classic
         (ETC), or Litecoin (LTC), any Resulting Currency and any digital currency that the
         Borrower and Lender agree upon.

         “Digital Currency Address” means an identifier of 26-34 alphanumeric characters that
         represents a possible destination for a Transfer of Digital Currency.

          “Dollars” and “S” mean lawful money of the United States of America.

          “Fees” mean the Borrow Fee and the Late Fee.

           “Fork” means a permanent divergence in the relevant Digital Currency block chain, that
          commonly occurs when non-upgraded nodes can’t validate blocks created by upgraded nodes
          that follow newer consensus rules.

           “Governmental Authority” means the government of any other nation, or of any political
          subdivision thereof, whether state or local, and any agency, authority, instrumentality, regulatory
          body, court or other entity exercising executive, legislative, judicial, taxing, regulatory or
          administrative powers or functions of or pertaining to government.

          “Hard Fork” has the meaning set forth in Section (h).

          “Late Fee” has the meaning set forth in Section 111(b).

          “Lender” means BKCoin Management LLC

          “Loan” means a request for a loan or an actual loan of Digital Currency made pursuant to and
          subject to this Agreement.

          “Loan Documents” shall mean this Agreement, all Lending Requests and all exhibits and
          schedules hereto.

          “Loan Effective Date” means the date upon which a Loan begins.

          “Maturity Date” means the date upon which a Loan is terminated.
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          “Open Dear means a Loan without a Maturity Date where Borrower may redeliver the Digital
          Currency and Lender to may recall the Digital Currency at any time, subject to this Agreement.

          “Resulting Currency" means a Digital Currency issued as a result of a Hard Fork.


          “Taxes" means all present or future taxes, levies, imposts, duties, deductions, withholdings,
          assessments, fees or other charges imposed by any Governmental Authority, including any
          interest, additions to Tax or penalties applicable thereto.

          “Term” shall have the meaning set forth in Section XX.

           “Term Deal" means a Loan with a pre-determined Maturity Date, where only Borrower can
          return the Digital Currency prior to maturity.

          “Transfer" shall mean, as applicable, the delivery of Digital Currency by Lender or the
          redelivery of Digital Currency by Borrower hereunder.

              IL            General Operation.

              (a)           Loans of Digital Currency

          Subject to the terms and conditions hereof, Borrower may, in its sole and absolute discretion,
          request the Lender to Loan to Borrower a specified amount of Digital Currency, and Lender
          may, in its sole and absolute discretion, extend such Loan or decline to extend such Loan.

              (b)           Loan Procedure

          From time to time during the Term of this Agreement, on a Business Day (the "Request Day") an
          Authorized Agent of Borrower may by email directed to trading@bkcoincapital.com, request
          from Lender a Loan of a specific amount of Digital Currency (a "Lending Request”). Lender
          shall by email directed to alejandro@mecbd.com, inform Borrower whether Lender agrees to
          make such a Loan. Once made, Lending Requests may not be withdrawn by Borrower and a
          Lending Request shall be deemed rejected unless accepted by Lender as set forth above within
          two (2) Business Days of the Request Date.

          As part of its Lending Request, Borrower shall provide the following information:

                    (i)               The type of Digital Currency requested;
                    (ii)              the amount of Digital Currency requested;
                    (iii)             whether the Loan is a Term Deal or an Open Deal;
                    (iv)              the Loan Effective Date, which shall be no less than five (5) Business Days from
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                              the date of the Lending Request; and
                    (v)       the Maturity Date (if a Term Deal).

          If Lender agrees to make a Loan, the Lender shall commence transmission to the Borrower’s
          Digital Currency Address the amount of Digital Currency set forth in the Lending Request (the
          “Borrowed Amount”) on or before 5:00 pm New York Time on the Request Day.

          Specifics of each Loan shall be memorialized using the Loan Term Sheet attached as Exhibit B.

              (c)          Callable Option

          Applicable to Open Deal Loans, Lender may at any time from 9:00 am until 5:00 pm New York
          time on a Business Day (the “Recall Request Day”) exercise the Callable Option and recall all or
          any portion of a Digital Currency loaned to Borrower (the “Recall Amount”). Borrower will then
          have until 5:00 pm New York time on the “Recall Delivery Day”, as agreed to and defined in the
          relevant Loan Term Sheet, to deliver the Recall Amount. In the event a Market Disruption Event
          is in effect on any Recall Delivery Day, the Recall Delivery Day will be extended fifteen (15)
          days. If a Market Disruption Event is still in effect at the end of such fifteen (15) day period,
          Borrower shall immediately transfer available funds an amount in Dollars equal to the average
          price on the Liquidity Exchanges (measured at 4:00 p.m. New York time) of the borrowed
          Digital Currency during the fifteen (15) Calendar Days including and prior to the Market
          Disruption Event in the borrowed Digital Currency (the “Market Disruption Spot Rate”). For
          purposes of this Agreement, “Market Disruption Event” means any event, circumstance,
          occurrence or condition that is beyond Borrower’s control that restricts Borrower from
          delivering the Recall Amount in the normal course by exercising commercially reasonable
          efforts, including, for example, 51% attacks in which any Liquidity Exchange limits transfers,
          mining of empty blocks, no blocks being produced at all, or any Liquidity Exchange being
          censored by miners.

          Borrower may at any time from 9:00 am until 5:00 pm New York time on a Business Day (the
          “Redelivery Dav”) exercise the Callable Option and deliver all or any portion of any Digital
          Currency loaned to Borrower.

              (d)          Termination of Loan

          Loans will terminate:

                    (i)              If a Term Deal, upon redelivery by Borrower of the Digital Currency at the
                              Maturity Date or sooner;

                    (ii)      If an Open Deal, upon redelivery by Borrower of the Digital Currency once the
                              Borrower or Lender exercises the Callable Option; or
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                 (iii)   AttheendoftheTermXX.

              (e) Redelivery of Borrowed Digital Currency

         Upon termination of a Loan according to this Agreement, the Borrower shall commence
         redelivery of the borrowed Digital Currency on or before 5:00 pm New York time of the
         applicable Business Day (i.e., the Maturity Date, the Recall Delivery Day, or the Redelivery
         Day).

              (I) Redeliverv in an Illiquid Market

          If the market in the borrowed Digital Currency becomes Illiquid (as defined below), Borrower
          may repay the Loan in Dollars at the Illiquid Market Spot Rate (as defined below). The market
          in the borrowed Digital Currency is “Illiquid” if the seven-day average daily trading volume
          across each of the top three exchanges reporting prices for the borrowed Digital Currency (as
          measured by the 30-day average daily trading volume on the Loan Date) (the such exchanges,
          the “Liquidity Exchanges”) has decreased by 90% from the date of the Loan Term Sheet to the
          Maturity Date, or if the borrowed Digital Currency ceases to be listed on any of the Liquidity
          Exchanges. If the market is Illiquid, Borrower shall repay on the Maturity Date or on the Recall
          Delivery Date an amount in Dollars equal to the average price on the Liquidity Exchanges
          (measured at 4:00 p.m. New York time) of the borrowed Digital Currency during the fifteen
          (15) Calendar Days including and prior to the determination of an Illiquid market in the
          borrowed Digital Currency (the “Illiquid Market Spot Rate”). Notwithstanding the forgoing or
          anything in this Agreement to the contrary, Borrower may always satisfy its repayment or
          delivery obligations in this Agreement by repaying or delivering the applicable amount of
          borrowed Digital Currency.

              (g) Acts by Governmental Authorities and Changes in Applicable Laws.
         If because of enforcement actions by Governmental Authorities of competent jurisdiction or
         changes in Applicable Laws (“Government Restrictions”), a party’s ability to transfer or own a
         Digital Currency that has been the subject of a Loan or Loans is eliminated, materially impaired or
         declared illegal:
                 (1) if possible under the Government Restrictions, including, without limitation, during
                     any notice or grace period, Borrower shall repay to the Lender any outstanding balance
                     of such Digital Currency and any accrued but unpaid Fees, such repayment to be made
                     in the Digital Currency;
                 (2) if return is not possible under the Government Restrictions, Borrower shall repay
                     Lender an amount in Dollars equal to the volume-weighted average price on the
                     Liquidity Exchanges (measured at 4 p.m. New York time) of the borrowed Digital
                     Currency during the 30 day period prior to the effective date of the Government
                     Restrictions.
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              III.         Borrow Fees and Transaction Fees.

              (a)      Borrow Fee Calculation

          When a Loan is executed, the Borrower will be responsible to pay the Borrow Fee as agreed to in
          the relevant Loan Term Sheet, the Borrow Fee shall be annualized but calculated daily and is
          subject to change if agreed to by Borrower and Lender. The Borrow Fee shall be payable, unless
          otherwise agreed by the Borrower and Lender, in the applicable Digital Currency.

          Lender shall calculate any Borrow Fees owed on a daily basis and provide Borrower with the
          calculation upon request.

              (b)      Late Fee

          For each Calendar Day in excess of the Maturity Date or the Recall Delivery Day (whichever is
          applicable) in which Borrower has not returned any Digital Currency, Borrower shall incur an
          additional fee (the “Late Fee”) of 5% (annualized, calculated daily) of the notional amount of the
          Loan in addition to the Borrow Fee.

              (c)      Payment of Borrow Fees and Late Fees

          An invoice for Borrow Fees and any Late Fees (the “Invoice Amount”) shall be sent out on the
          first Business Day of the month and shall include any Borrow Fees incurred from the previous
          month. Borrower shall have up to five Business Days to submit payment for the invoice (the
          “Invoice Due Date”). Fees unpaid by the Invoice Due Date shall also become subject to the
          Late Fee commencing the day after the Invoice Due Date.

              (d)      Application of Payments

         Borrower shall, at the time of making each payment under this Agreement, specify to the Lender
         the Loan to which such payment is to be applied. In the event that the Borrower fails to so specify,
         or if an Event of Default has occurred and is continuing, the Lender may apply the payment in such
         manner as it may determine to be appropriate in its sole discretion.

              (e)      Application of Insufficient Payments

         If at any time insufficient amounts are received by the Lender to pay fully all amounts of principal,
         Fees, and other amounts then due and payable hereunder, such Digital Currency payment received
         shall be applied (i) first, to pay Fees then due and payable hereunder, (ii) then, to pay principal then
         due and payable hereunder, and (iii) then, to pay other amounts then due and payable under this
         Agreement. In no event shall payments by Borrower in one Digital Currency be applied by Lender
         to pay off obligations outstanding with respect to a Loan in another Digital Currency.
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              (f)       Non-Business Davs

         If the due date of any payment under this Agreement would otherwise fall on a day that is not a
         Business Day, such date shall be extended to the next succeeding Business Day and, in the case of
         any payment accruing Fees such Fees shall be payable for the period of such extension.

              (g)       Computations

         Fees shall be computed on the basis of a year of 360 days for the actual number of days (including
         the first day but excluding the last day) occurring in the period for which payable. For purposes of
         calculating Fees, Digital Currencies shall be deemed to have been Transferred by one party to the
         other when the applicable Confirmation Protocol for the relevant Digital Currency has been
         completed. If the requirements of the Confirmation Protocol are not met by 5pm New York Time,
         the Transfer shall be deemed to have been made on the following Business Day. Calculation of
         Fees shall be based on the date when the relevant Transfer is deemed to have occurred.

              (h)       Taxes

                    (1) All Taxes assessed on Borrower with respect to the Borrowed Amount shall be paid
                        by Borrower.
                    (2) No Loans made under this Agreement shall be treated as a taxable disposition under
                        Internal Revenue Code section 1001.

              IV.      Collateral Requirements

              (a)       Collateral

           Borrower shall provide as collateral an amount of U.S. Dollars or Digital Currency to be determined
           and agreed upon by the Borrower and Lender (“Collateral”) and memorialized using the Loan Term
           Sheet attached as Exhibit B. The Collateral will be defined as a percentage of the value of the
           borrowed Digital Currency, such value determined by a spot rate agreed upon in the Loan Term
           Sheet. Lender shall be entitled to use the Collateral to conduct its digital currency lending and
           borrowing business, including transferring the Collateral to other non-Galaxy bank accounts.

              (b)       Margin Calls

         If during the term of a Loan the value of the borrowed Digital Currency increases by the Margin
         Call Rate indicated on the Loan Term Sheet as measured by the spot rate published on Coinbase
         Pro, or if borrowed Digital Currency is not listed on Coinbase Pro, then the spot rate published on
         Kraken (such rate, the “Margin Call Spot Rate”) over the spot rate indicated in the Loan Term .
         Sheet, or the prior Margin Call Spot Rate, as applicable, Lender shall have the right to require
         Borrower to contribute additional Collateral so that the Collateral is at least the same percentage
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         indicated in the Loan Term Sheet relative to the value of the borrowed Digital Currency at the
         Margin Call Spot Rate (the “Additional Collateral”). If during the term of a Loan the value of the
         borrowed Digital Currency decreases below the original borrowed amount, Borrower shall have
         the right to require Lender to return a portion of Collateral equivalent to such decrease (the
         “Collateral Return Amount”).

         If Lender requires Borrower to contribute Additional Collateral, or if Borrower requires Lender to
         return Collateral, such requiring party shall send an email notification (the “First Notification”) to
         the other party on a Business Day at the email address indicated in Section XIII that sets forth: (i)
         the Margin Call Spot Rate and (ii) the amount of Additional Collateral required based on the
         Margin Call Spot Rate, or the Collateral Return Amount, as applicable. Borrower or Lender, as
         applicable, shall have twelve (12) hours on a Business Day from the time it receives such First
         Notification to (x) respond and send payment to the requesting party , or (y) respond that the spot
         rate as indicated on Coinbase Pro or Kraken, as applicable, has changed sufficiently such that the
         transfer of Additional Collateral or the Collateral Return Amount, as applicable, is no longer
         required. If the requesting party agrees by email that the response according to (y) above is correct
         then no other action is required.

         If Borrower or Lender, as applicable, fails to respond to the First Notification within twelve (12)
         hours on Business Days, and the spot rate of the borrowed Digital Currency is still at least at the
         Margin Call Spot Rate or below the original borrowed amount, as applicable, Lender or Borrower,
         as applicable, may send a second email notification (the “Second Notification”) repeating the
         information in (i) and (ii) in the paragraph above. Borrower or Lender, as applicable, shall have six
         (6) hours on Business Days from the time the requesting party sends the Second Notification to
         respond according to (x) or (y) above. Failure to respond to either the First Notification or the
         Second Notification, shall give the requesting party the option to declare an Event of Default under
         Section VII below.

              (c)     Default or Failure to Return Loan or Collateral

         In the event that Borrower does not return the Loan upon Termination or in the event of default
         pursuant to Sections VII of this Agreement, Lender shall transfer that portion of the Collateral from
         the Collateral Account to Lender’s operating account necessary for the payment of any liability or
         obligation or indebtedness created by this Agreement, including, but not limited to using the
         Collateral to purchase the relevant Digital Currency to replenish Lender’s supply of the relevant
         Digital Currency.

              (d)     Return of Collateral

         Upon Borrower’s redelivery of the Loan and acceptance of Lender of the Borrowed Digital
         Currency into Lender’s wallet address as provided herein, with such delivery being confirmed on
         the relevant Digital Currency blockchain ten times, Lender shall initiate the return of Collateral to a
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           bank account in the name of Borrower. If Borrower provided Digital Currency as collateral,
           Lender’s return of any Digital Currency posted as collateral must satisfy BKCoin’s Bank Secrecy
           Act and Anti-money Laundering obligations.

                V.       Hard Fork


                (a)       Notification

            In the event of a Hard Fork or an Airdrop, Lender shall provide email notification to Borrower.

                (b)       No Immediate Termination of Loans Due to Hard Fork

            In the event of a Hard Fork or an Airdrop, any outstanding Loans will not be immediately
            terminated.

                (c)       Redelivery of Borrowed Digital Currency

            Lender will receive the benefit of any incremental tokens generated as a result of a Fork in the
            relevant Digital Currency protocol or an Applicable Airdrop that results in a second token (the
            “New Token”) being created. For purposes of this agreement, a Hard Fork will have been
            deemed to have occurred if any two of the following four conditions are met:
                • Hash Power: the average hash power mining the New Token on the 30th day following
                   the occurrence of the Hard Fork or Applicable Airdrop (calculated as a 30-day average on
                   such date) is at least 20% of the hash power mining the relevant Digital Currency on the
                   day preceding the Hard Fork or Applicable Airdrop (calculated as a 3-day average of the
                   3 days preceding the hard fork). The source for the relevant Digital Currency hash power
                   will be blockchain.info (or, if blockchain.info does not provide the required information,
                   bitinfocharts.com, and if neither provides the required information, the parties shall
                   discuss in good faith to mutually agree upon another data source) and the source for the
                   hash power of the New Token will be bitinfocharts.com (or, ifbitinfocharts.com does not
                   provide the required information, the parties shall discuss in good faith to mutually agree
                   upon another data source prior to the 30-day mark of the creation of the New Token).
                • Market Capitalization: the average market capitalization of the New Token (defined as
                   the total value of all New Tokens) on the 30th day following the occurrence of the Hard
                   Fork or Applicable Airdrop (calculated as a 30-day average on such date) is at least 20%
                   of the average market capitalization of the relevant Digital Currency (defined as the total
                   value of the relevant Digital Currency) (calculated as a 30-day average on such date).
                   The source for the relevant Digital Currency market capitalization will be blockchain.info
                   (or, if blockchain.info does not provide the required information, bitinfocharts.com, and
                   if neither provides the required information, the parties shall discuss in good faith to
                   mutually agree upon another data source) and the source for the market capitalization of
                   the New Token will be (or, ifbitinfocharts.com does not provide the required
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                      information, the parties shall discuss in good faith to mutually agree upon another data
                      source prior to the 30-day mark of the creation of the New Token).
                 •    24-Hour Trading Volume', the average 24-hour trading volume of the New Token on the
                      30th day following the occurrence of the Hard Fork or Applicable Airdrop (calculated as
                      a 30-day average on such date) is at least 20% of the average 24-hour trading volume of
                      the relevant Digital Currency (calculated as a 30-day average on such date). The source
                      for the relevant Digital Currency 24-hour trading volume will be blockchain.info (or, if
                      blockchain.info does not provide the required information, bitinfocharts.com, and if
                      neither provides the required information, the parties shall discuss in good faith to
                      mutually agree upon another data source) and the source for the 24-hour trading volume
                      of the New Token will be (or, ifbitinfocharts.com does not provide the required
                      information, the parties shall discuss in good faith to mutually agree upon another data
                      source prior to the 30-day mark of the creation of the New Token).
                 •    Wallet Compatibility', the New Token is supported by either BitGo wallets or Ledger
                      wallets within 30 days of the Hard Fork or Applicable Airdrop.

            If the Hard Fork or Applicable Airdrop meets the criteria above, Borrower will have up to 60
            days from the Hard Fork or Applicable Airdrop to pay Lender. Borrower can reimburse Lender
            for the value of the New Tokens with any combination of a one-time Digital Currency payment
            of the relevant Digital Currency reflecting the amount of the New Token due using the agreed
            upon spot rate at the moment of repayment, returning the loaned Digital Currency so that Lender
            can split the tokens themselves, sending the New Tokens directly to Lender, or a Dollar cash
            payment at the agreed upon spot rate of the New Token at the time of repayment. In the event of
            a Hard Fork or Applicable Air Drop that does not meet the criteria above, or a Non-Applicable
            Airdrop, Borrower shall have no obligation to send the New Tokens to Lender, or to make a
            payment in Dollars or the relevant Digital Currency for the value of the New Tokens.

                VI.      Representations and Warranties.

                (a) The Borrower represents to the Lender on the date hereof and on the date of each Loan
                    Request made to the Borrower hereunder that each of this Agreement has been duly and
                    validly authorized, executed and delivered on behalf of the Borrower and constitutes the
                    legal, valid and binding obligations of the Borrower enforceable against the Borrower in
                    accordance with its terms (except as such enforceability may be limited by bankruptcy,
                    insolvency, reorganization, moratorium or similar laws relating to or limiting creditors’
                    rights generally and subject to the availability of equitable remedies) and will not
                    contravene (a) the constitutive documents of Borrower, (b) any Applicable Law, and (c)
                    any judgment, award, injunction or similar legal restriction.

                (b) Each party represents that no license, consent, authorization or approval or other action by,
                    or notice to or filing or registration with, any Governmental Authority (including any
                    foreign exchange approval), and no other third-party consent or approval, is necessary for
                    the due execution, delivery and performance by such party of this Agreement or for the
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                      legality, validity or enforceability thereof against such party.

                 (c) Each party hereto represents and warrants that it has not relied on the other for any tax or
                     accounting advice concerning this Agreement and that it has made its own determination
                     as to the tax and accounting treatment of any Loan or any Digital Currency or funds
                     received hereunder.

                (d) Lender represents and warrants that it has, or will have at the time of transfer of any
                    Digital Currency, the right to lend such Digital Currency subject to the terms and
                    conditions hereof, that it owns the Digital Currency, free and clear of all liens and
                    that the Digital Currency has been acquired in accordance with all Applicable
                    Laws.

                (e) Borrower represents and warrants that it has, or will have at the time of return of any
                    Digital Currency, the right to transfer such Digital Currency subject to the terms and
                    conditions hereof, and, free and clear of all liens and encumbrances other than those
                    arising under this Agreement and that the Digital Currency that it will return has been
                    acquired in accordance with all Applicable Laws.

                VII.          Default

           It is further understood that the following defaults shall constitute events of default hereunder
           and are hereinafter referred to as an “Event of Default” or “Events of Default”:

                (a) the failure of the Borrower to return any Borrowed Amount or pay any Borrow Fees
                    when due hereunder;

                (b)       the failure by the Lender to return any Collateral when due hereunder;

                (c) a material default in the performance by Borrower of any of the other
                    agreements, conditions, covenants, provisions or stipulations contained in any
                    of the Loan Documents;

                (d) any bankruptcy, insolvency, reorganization or liquidation proceedings or other
                    proceedings for the relief of debtors or dissolution proceedings shall be instituted by or
                    against the Borrower and shall not be dismissed within thirty (30) days of their initiation;
                    or

                (e) any representation or warranty made in any of the Loan Documents proves to be untrue
                    in any material respect as of the date of making or deemed making thereof.



                VIII.         Remedies
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            Upon the occurrence and during the continuation of any Event of Default, the Lender may, at its
            option, (a) declare all Borrowed Amounts outstanding hereunder immediately due and payable,
            (b) terminate this Agreement upon notice to Borrower, and (c) exercise all other rights and
            remedies available to the Lender hereunder, under applicable law, or in equity; provided, that
            upon any Event of Default pursuant to Section VII all Borrowed Amounts and the amount of
            any Fees then outstanding hereunder shall automatically become and be immediately due and
            payable.



                IX.           Rights and Remedies Cumulative.

            No delay or omission by the Lender in exercising any right or remedy hereunder shall operate as
            a waiver of the future exercise of that right or remedy or of any other rights or remedies
            hereunder. All rights of the Lender stated herein are cumulative and in addition to all other
            rights provided by law, in equity.

                X.            Collection Costs.

            In the event Borrower fails to pay any amounts due or to return any Digital Currency hereunder,
            the Borrower shall pay to the Lender upon demand all reasonable costs and expenses, including
            without limitation, reasonable attorneys’ fees and court costs incurred by the Lender in
            connection with the enforcement of its rights hereunder.

                 XI.         Passwords and Security.
           Each party is responsible for maintaining adequate security and control of any and all passwords,
           private keys, and any other codes that it uses to Transfer or receive Digital Currencies hereunder.
           Each party will be solely responsible for the private keys that it uses to make the Transfers and
           maintaining secure back-ups. Each party will promptly notify the others of any security breach of
           its accounts, systems or networks as soon as possible. Each party will cooperate with the other
           party in the investigation of any suspected unauthorized Transfers or attempted Transfers using a
           party’s account credentials or private keys, and any security breach of a party’s accounts, systems,
           or networks, and provide the other party with the results of any third-party forensic investigation
           that it may undertake. Each party will be responsible for any unauthorized Transfers made utilizing
           its passwords, private keys, and any other codes it uses to make or receive Transfers.

                XII.          Governing Law: Dispute Resolution.

            This Agreement is governed by, and shall be construed and enforced under, the laws of the State
            of New York applicable to contracts made and to be performed wholly within such State, without
            regard to any choice or conflict of laws rules. If a dispute arises out of or relates to this
            Agreement, or the breach thereof, and if said dispute cannot be settled through negotiation it
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            shall be finally resolved by arbitration administered in the County of New York, State of New
            York by the American Arbitration Association under its Commercial Arbitration Rules, or such
            other applicable arbitration body as required by law or regulation, and judgment upon the award
            rendered by the arbitrators may be entered in any court having jurisdiction. If any proceeding is
            brought for the enforcement of this Agreement, then the successful or prevailing party shall be
            entitled to recover attorneys’ fees and other costs incurred in such proceeding in addition to any
            other relief to which it may be entitled.



                XIII.         Notices.

            Unless otherwise provided in this Agreement, all notices or demands relating to this Agreement
            shall be in writing and shall be personally delivered or sent by Express or certified mail (postage
            prepaid, return receipt requested), overnight courier, electronic mail (at such email addresses as a
            party may designate in accordance herewith), or to the respective address set forth below:

            Borrower:
            Alejandro Canto
            9456 SW 171st Pl
            Miami, FL 33196
            Attn: Mr. Alejandro Canto
            Email: aleiandro@mecbd.com

            Lender:
            BKCoin Management LLC
            1101 Brickell Ave. S-800
            Miami, FL 33131
            Attn: Trading Team
            Email: trading@bkcoincapital.com

           Either party may change its address by giving the other party written notice of its new address as
           herein provided.

                XIV.          Modifications.

            All modifications or amendments to this Agreement shall be effective only when reduced to
            writing and signed by both parties hereto.

                XV.          Entire Agreement.

            This Agreement and each exhibit referenced herein constitutes the entire Agreement among the
            parties with respect to the subject matter hereof and supersedes any prior negotiations,
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            understandings and agreements.

                XVI.         Successors and Assigns.

            This Agreement shall bind and inure to the benefit of the respective successors and assigns of
            each of the parties; provided, that neither party may assign this Agreement or any rights or duties
            hereunder without the prior written consent of the other party.

                XVII.        Severability of Provisions.

            Each provision of this Agreement shall be severable from every other provision of this
            Agreement for the purpose of determining the legal enforceability of any specific provision.

                xviii. Counterpart Execution.

            This Agreement may be executed in any number of counterparts and by different parties on
            separate counterparts, each of which, when executed and delivered, shall be deemed to be an
            original, and all of which, when taken together, shall constitute but one and the same Agreement.
            Delivery of an executed counterpart of this Agreement by email or other electronic method of
            transmission shall be equally as effective as delivery of an original executed counterpart of this
            Agreement. Any party delivering an executed counterpart of this Agreement by email or other
            electronic method of transmission also shall deliver an original executed counterpart of this
            Agreement but the failure to deliver an original executed counterpart shall not affect the validity,
            enforceability, and binding effect of this Agreement.

                XIX.         Relationship of Parties.

            Nothing contained in this Agreement shall be deemed or construed by the parties, or by any third
            party, to create the relationship of partnership or joint venture between the parties hereto, it being
            understood and agreed that no provision contained herein shall be deemed to create any
            relationship between the parties hereto other than the relationship of Borrower and Lender.

                XX.          Term and Termination.

            The Term of this Agreement shall commence on the date hereof for a period of one year, and
            shall automatically renew for successive one-year terms annually, unless either party provides
            notice of a desire to terminate the contract no less than ten (10) days prior to the end of such one-
            year period. The foregoing notwithstanding, this Agreement may be terminated as set forth in
            Section VI or upon 30 days’ notice by either party to the other.

            In the event of a termination of this Agreement, all outstanding Loans shall be deemed terminated
            and any loaned Digital Currency shall be redelivered immediately and any fees owed shall be
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            payable immediately.

                XXI. Miscellaneous.

            Whenever used herein, the singular number shall include the plural, the plural the singular, and
            the use of the masculine, feminine, or neuter gender shall include all genders. This Agreement is
            solely for the benefit of the parties hereto and their respective successors and assigns, and no
            other Person shall have any right, benefit, priority or interest under, or because of the existence
            of, this Agreement. The section headings are for convenience only and shall not affect the
            interpretation or construction of this Agreement. The Parties acknowledge that the Agreement
            and any Order are the result of negotiation between the Parties which are represented by
            sophisticated counsel and therefore none of the Agreement’s provisions will be construed against
            the drafter.
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            IN WITNESS WHEREOF, the parties have caused this Agreement to be executed and delivered
            as of the date first above written.



            Borrower:
           Alejandro Canto
                       s— DocuSigned by:



            By:_
            Name:
            Title:




            Lender:
           BKCoin Management    LLC
                        DocuSigned by:




             By:_            —3ga40610AFA34g0 ---
                          Carlos Betancourt
             Name:
             Title:            Founding Principal
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                                                             EXHIBIT A

            Authorized Agents. The following are authorized to deliver Lending Requests on behalf of
            Borrower in accordance with Section 3 hereof:

            Name:
            n/a
            Email:
            n/a

            Name:
            n/a
            Email:
            n/a

            Borrower may change its Authorized Agents by notice given to Lender as provided herein.
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                                                         EXHIBIT B
                                                      LOAN TERM SHEET

            The following loan agreement dated June 7th, 2021 incorporates all of the terms of the Master
            Credit Agreement entered into by BKCoin Management LLC (“BKCoin”) and Alejandro Canto
            (“Borrower”) on March 9th, 2022 and the following specific terms:


            Borrower:                              Alejandro Canto
            Lender:                                BKCoin Management LLC


            Currency/Digital Currency:             USD 300,000
            Amount of Digital Currency:            N/A
            Borrow Fee:                             12%
            Loan Type:                             Open/Callable
            Loan Term:                             N/A
            Initial Collateral Level:               100%
            Type Collateral:                       ETH and/or BTC
            Margin Call Rate:                      20%
            Margin Refund Rate:                    n/a
            Loan Effective Date:                   March 9th, 2021
            Recall Delivery Date:                  The tenth (10th) Business Dav from the Recall Request Dav



            BKCoin Management LLC                                    Alejandro Canto


                            DocuSigned by:
                                                                                       DocuSigned by:



             By:--------- hrrWW^courr                                By:_
             Name:                                                   Name:
                            Founding Principal                       Title:
